   Case 2:21-cv-01412-ART-EJY   Document 437-32   Filed 01/06/25   Page 1 of 82




                  EXHIBIT Y
Button et al v. The New York Times Co. et al
                  Complaint
      Case 2:21-cv-01412-ART-EJY
           Case 1:24-cv-05888-UA            Document
                                            Document 1437-32
                                                         Filed 07/29/24
                                                               Filed 01/06/25
                                                                          Page 1
                                                                               Page
                                                                                 of 812 of 82



 1

 2                         UNITED STATES DISTRICT COURT
 3                        SOUTHERN DISTRICT OF NEW YORK

 4

 5

 6

 7
     DUSTY BUTTON AND MITCHELL                          Case No:
 8   TAYLOR BUTTON

 9
                                                        COMPLAINT AND DEMAND FOR
10                    PLAINTIFFS,
                                                        JURY TRIAL
11   V.

12
     THE NEW YORK TIMES COMPANY,
13   JULIA JACOBS, LINDSEY RUFF,
     SABINA MARIELLA, DAWN
14   SCHNEIDER, DEMETRI BLAISDELL and
     DAVID MCCRAW
15

16
                      DEFENDANTS.
17

18
19

20

21

22
                    Plaintiffs Dusty Button and Mitchell Taylor Button, (together, “Plaintiffs”) file
23

24   this Complaint and sue The New York Times Company, Julia Jacobs, Lindsey Ruff, Sabina

25   Mariella, Dawn Schneider, Demetri Blaisdell and David McCraw, (together, “Defendants”),

26   jointly and severally:
27

28

                                          1
                          COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 2
                                                                            Page
                                                                              of 813 of 82



 1                                NATURE OF THE ACTION
 2    1. This case is about abuse of power, intimidation and the weaponization of the justice
 3
         system by attorneys from Boies Schiller & Flexner, who conspired and colluded with
 4
         The New York Times Company, (“The Times”), to unethically and unlawfully violate
 5
         Plaintiffs’ Constitutional rights to due process.
 6

 7    2. This is an action about attorney-media collusion and the unethical and unlawful

 8       practices of greedy, fame and power-hungry attorneys who are not interested in the

 9       truth or law they pled an oath to uphold and who are confident there will be no
10
         consequence to their unlawful, unethical and immoral conduct against innocent
11
         victims, such as Plaintiffs.
12
      3. Defendants Lindsey Ruff and Sabina Mariella from Boies Schiller & Flexner, in
13
         collaboration with their public relations and communications director, Dawn
14

15       Schneider and associate and non-party co-conspirator, Sigrid McCawley, unethically

16       colluded with journalist Julia Jacobs and The New York Times, to intentionally
17       compromise Plaintiffs’ ability to prepare a defense against a frivolous lawsuit brought
18
         forth against them by publishing a defamatory, front-page article to The New York
19
         Times which disclosed a private lawsuit to a mass audience prior to Plaintiffs ever
20
         being served with the complaint.
21

22    4. This action is about former Boies Schiller & Flexner associate Demetri Blaisdell, now

23       an attorney for The New York Times Company and Julia Jacobs, who infringed on

24       Plaintiffs’ due process, conspired with his former associates from Boies Schiller &
25       Flexner and threatened Plaintiffs in order to impede and intentionally interfere with
26
         Plaintiffs’ rights to due process and ability to seek the justice they deserve including
27

28

                                       2
                       COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 3
                                                                            Page
                                                                              of 814 of 82



 1       by abusing his power as an attorney in an effort to silence Plaintiffs from coming
 2       forward and seeking legal recourse against his client.
 3
      5. This action is about Defendant David McCraw, attorney for the New York Times, who
 4
         colluded with Defendants to interfere in Plaintiffs’ ability to timely pursue legal
 5
         recourse against Julia Jacobs and The New York Times.
 6

 7    6. Journalist for The New York Times Company, Julia Jacobs, conspired and colluded

 8       with Boies Schiller & Flexner attorneys and their clients to publish and disclose a

 9       private lawsuit against Plaintiffs before Plaintiffs were ever even served or had any
10
         knowledge of the lawsuit or the allegations set forth within the complaint therefore,
11
         intentionally inflicting severe emotional distress on Plaintiffs and their family
12
         including because Plaintiffs were on the front page of The New York Times with their
13
         faces directly below a defamatory title stating they committed crimes they never
14

15       committed, ruining the reputations, careers and livelihoods of Plaintiffs for the

16       foreseeable future.
17    7. In addition to the collusion between the Defendants, Ms. Jacobs’ article about
18
         Plaintiffs on July 29th, 2021, was not only defamatory in nature but was intentionally
19
         published prior to service, in conjunction with the complaint filed by attorneys from
20
         Boies Schiller & Flexner, as a favor, in order to completely and intentionally cripple
21

22       Plaintiffs’ defense against the false allegations including because every single

23       contract of Plaintiffs was entirely disseminated before they even knew what the

24       lawsuit was regarding.
25    8. Following Ms. Jacobs article being published, Plaintiffs immediately lost everything
26
         they had ever worked for including but not limited to their reputations, careers and
27

28

                                       3
                       COMPLAINT AND DEMAND FOR JURY TRIAL
         Case 2:21-cv-01412-ART-EJY
              Case 1:24-cv-05888-UA                Document
                                                   Document 1437-32
                                                                Filed 07/29/24
                                                                      Filed 01/06/25
                                                                                 Page 4
                                                                                      Page
                                                                                        of 815 of 82



 1           business relationships, resulting in the loss of every asset they owned or possessed and
 2           including the loss of their home which they were evicted from due to the crippled
 3
             financial state following Ms. Jacobs’ article and collusion with Defendants Ruff,
 4
             Mariella, Schneider and non-party co-conspirator Sigrid McCawley.
 5
          9. This case is about Defendants, who exploited their positions of power and influence as
 6

 7           attorneys, a globally renowned and frequently televised attorney and non-party co-

 8           conspirator, Sigrid McCawley, who orchestrated a false narrative and defamatory

 9           foundation in order to assure the careers, businesses, reputations and well- known and
10
             respected good names of the Plaintiffs in this case were entirely decimated prior to
11
             bringing forth a fraudulent lawsuit on behalf of their clients thus, intentionally
12
             crippling Plaintiffs’ finances and rendering them incapable of defending themselves
13
             against the fraudulent litigation Defendants and their clients strategically ensured was
14

15           published on the world stage prior to Plaintiffs ever learning that they were being

16           sued1.
17        10. The New York Times Company states it has a “Commitment to Quality Journalism”;
18
             however, that is simply not the case here, as Defendant Julia Jacobs intentionally
19
             chose to disregard her duties to investigate, write and publish a “story” consistent with
20

21

22   1
       On July 29th, 2021, the New York Times published interviews with Sigrid McCawley and her clients, including
     false and defamatory statements about Plaintiffs - https://www.nytimes.com/2021/07/29/arts/dance/mitchell-
23   button-dusty-button-abuse.html . Plaintiffs received an email from Defendants proving Sigrid McCawley and PR
     Team member Dawn Schneider arranged an interview at least on one occasion with Julia Jacobs of the New
24   York Times which took place on July 26th, 2021, days prior to the lawsuit being filed with the Court. As
     discussed further herein, to no coincidence; Plaintiffs contacted Julia Jacobs in 2023 addressing the defamatory
25   article, were referred to her attorney David McCraw who then deferred Plaintiffs to a different attorney who
     Plaintiffs were led to believe represented to Julia Jacobs; Demetri Blaisdell, former associate of Boies Schiller
26   Flexner LLP, who threatened Plaintiffs upon learning Plaintiffs intended to sue The New York Times and Julia
     Jacobs.
27

28

                                              4
                              COMPLAINT AND DEMAND FOR JURY TRIAL
       Case 2:21-cv-01412-ART-EJY
            Case 1:24-cv-05888-UA                  Document
                                                   Document 1437-32
                                                                Filed 07/29/24
                                                                      Filed 01/06/25
                                                                                 Page 5
                                                                                      Page
                                                                                        of 816 of 82



 1            facts, which were available to her through Defendants who were in possession of those
 2            facts, various third-parties and through the public, proving the allegations against
 3
              Plaintiffs to be false in their entirety prior to publishing her article before Plaintiffs
 4
              even knew of the complaint2.
 5
         11. Defendant Julia Jacobs conspired and agreed to an arranged interview by and through
 6

 7            Dawn Schneider with Sigrid McCawley, Lindsey Ruff, Sabina Mariella and their

 8            clients, weeks prior to a written complaint being filed against Plaintiffs, later

 9            publishing that article prior to Plaintiffs being served with the Complaint.
10
         12. This case is about attorneys from Boies Schiller & Flexner who knowingly violated the
11
              model rules of professional conduct by unlawfully and unethically conspiring with the
12
              media to publish a lawsuit before the lawsuit was served in an attempt to intentionally
13
              taint any potential jury pool and the public’s view of Plaintiffs regardless of the truth
14

15            or falsity of the article or allegations. (They are false).

16       13. This is not a case of Plaintiffs “disagreeing” or “disapproving” false statements
17            published about them in the media; this case is an exemplary example of attorney-
18
              media collusion; attorneys with power, fortune, fame and influence, who
19
              egregiously made and amplified knowingly false and defamatory statements to a mass
20
              audience aggressively, proudly, publicly and repeatedly, as an orchestrated attack to
21

22            destroy the livelihoods, businesses, careers and reputations of Plaintiffs though

23            targeted deployments of defamation to mass audiences including to those who not

24

25
     2
       According to CPLR 304(a): “A pleading or paper filed in a Court of this state shall not be publicly disclosed or
26   published until the summons has been served and the Defendant has appeared or waived service”. This provision
     ensures that sensitive information about a lawsuit, including the identity of the parties involved and the claims
27   being made, remains confidential until the Defendant has been formally notified and has had an opportunity to
     respond.
28

                                              5
                              COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 6
                                                                            Page
                                                                              of 817 of 82



 1       only subscribed to every move that Plaintiffs made in their respective careers but to
 2       those who merely received daily news by way of the media and the press in a
 3
         defamatory global media campaign waged against Plaintiffs.
 4
      14. Defendants knew Ms. Jacobs’ article against Plaintiffs would spread like wildfire, and
 5
         it did, across the globe, to the extent of a globally televised interview on a major news
 6

 7       publication, which in turn, immediately caused further and complete destruction of

 8       Plaintiffs’ businesses, careers and reputations, resulting in the termination of all

 9       employment for Plaintiffs then and for the foreseeable future.
10
      15. Defendants’ conduct, shown forth in the complaint herein, is nothing more than proof
11
         that attorneys and media outlets such as Boies Schiller & Flexner associates and The
12
         Times have such an abundance of power that it allows them to engage in unethical
13
         and illegal acts with no consequence, leading to the complete destruction of the lives
14

15       of innocent parties who fall victim to their unlawful, unethical and immoral practices.

16                                        THE PARTIES
17    16. Plaintiff Dusty Button is an individual who resides and is domiciled in Myrtle Beach,
18
         South Carolina. Ms. Button is the wife of Plaintiff Mitchell Taylor Button (“Taylor
19
         Button”, “Taylor”).
20
      17. Plaintiff Taylor Button is an individual who resides and is domiciled in Myrtle Beach,
21

22       South Carolina. Mr. Button is the husband of Plaintiff Dusty Button (“Dusty”).

23    18. Defendant, The New York Times Company, (“The Times”), is a New York

24       corporation with its headquarters and principal place of business in New York. The
25       Times publishes digital and print products, including its core news product, The New
26
         York Times, which is available on its mobile applications, on its website
27

28

                                       6
                       COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 7
                                                                             Page
                                                                               of 818 of 82



 1       (NYTimes.com), and as a printed newspaper, and associated content such as its
 2       podcasts.
 3
      19. Upon belief, Defendant Julia Jacobs is an individual who resides and is domiciled in
 4
         New York City, NY and is a journalist with The New York Times in New York City,
 5
         NY.
 6

 7    20. Upon belief, Defendant Lindsey Ruff is an individual who resides and is domiciled in

 8       New York City, NY and is an attorney with Boies Schiller & Flexner LLP in New

 9       York City, NY.
10
      21. Upon belief, Defendant Sabina Mariella is an individual who resides and is domiciled
11
         in New York City, NY and is an attorney with Boies Schiller & Flexner LLP in New
12
         York City, NY.
13
      22. Upon belief, Defendant Dawn Schneider is an individual who resides and is domiciled
14

15       in New York City, NY and is an associate with Boies Schiller & Flexner LLP in New

16       York City, NY.
17    23. Upon belief, Defendant Demetri Blaisdell is an individual who resides and is
18
         domiciled in New York City, NY and is an attorney for The New York Times
19
         Company.
20
      24. Upon belief, Defendant David McCraw is an individual who resides and is domiciled
21

22       in New York City, NY and is an attorney for The New York Times Company.

23
                                 JURISDICTION AND VENUE
24
      25. Plaintiffs are citizens of the State of South Carolina for purposes of diversity
25

26       jurisdiction under 28 U.S.C § 1332.

27

28

                                       7
                       COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 8
                                                                             Page
                                                                               of 819 of 82



 1    26. Defendants are citizens of the state of New York for purposes of diversity jurisdiction
 2       under 28 U.S.C. § 1332.
 3
      27. Because The Times’ principal place of business and headquarters is in this District, the
 4
         injuries alleged herein from Defendants’ unlawful conduct foreseeably occurred in this
 5
         District.
 6

 7    28. Venue is proper in this Court pursuant to Title 18 U.S.C. §§ 1391(b)(1) and (b)(2).

 8       The New York Times Company and Defendants reside and are subject to personal

 9       jurisdiction in New York.
10
      29. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) and (b)(3) because a
11
         substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in
12
         this district by virtue of the transmission and publication of the false and defamatory
13
         statements in this district (and elsewhere) and also because Defendants are subject to
14

15       this Court’s personal jurisdiction with respect to this action.

16    30. This Court possesses personal jurisdiction over Defendants on the grounds that
17       Defendants committed a tortious act including but not limited to defamation in this
18
         state, (as alleged in this Complaint), and on the grounds that Defendants caused injury
19
         to Plaintiffs within the state arising out of an act or omission by Defendants outside of
20
         this state, while at or about the time of the injury, products, materials, or things
21

22       processed, serviced, or manufactured by Defendants were used or consumed within

23       this state in the ordinary course of commerce, trade, or use.

24    31. This Court has original subject matter jurisdiction with respect to this action pursuant
25       to 28 U.S.C. § 1332 as there exists complete diversity of citizenship between Plaintiffs
26

27

28

                                       8
                       COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
           Case 1:24-cv-05888-UA         Document
                                         Document 437-32
                                                  1 Filed Filed
                                                          07/29/24
                                                                01/06/25
                                                                      Page Page
                                                                           9 of 81
                                                                                 10 of 82



 1        and Defendant and the amount in controversy exceeds seventy-five thousand dollars
 2        ($75,000.00), exclusive of interests and costs.
 3

 4                                       BACKGROUND

 5
       32. Plaintiff Dusty Button was a world-renowned ballet dancer who trained at the
 6

 7        Jacqueline Kennedy Onassis School at the American Ballet Theatre in New York City.

 8        In 2007, she joined the Royal Ballet School in London and in 2008 she joined

 9        Birmingham Royal Ballet in England.
10
       33. In 2011, Ms. Button danced with American Ballet Theatre.
11
       34. Ms. Button is best known for her work with the Boston Ballet, which she joined in
12
          2012 and was promoted to their highest position of principal ballerina in 2014.
13
       35. Ms. Button was Red Bull’s first and only ballet athlete and has been published in
14

15        media publications across the globe, positively influencing hundreds of thousands of

16        people nationally and internationally, including by performing and teaching in over
17        thirty different countries and across the United States.
18
       36. Plaintiff Dusty Button’s Instagram account, @dusty_button, at the time of the events
19
          described herein, amassed nearly half of a million followers and subscribers.
20
       37. Ms. Button deleted her social media account in 2021 after succumbing to trauma from
21

22        severe cyber bullying and harassment which Plaintiff endured as a direct result of

23        Defendants’ conspiracy, collusion with the media and defamatory statements, in an

24        unethical play to a mass audience and waging a defamatory global media campaign
25        against Dusty to destroy her livelihood, career, reputation and business and to gain
26
          attention and traction for Defendants’ clients’ false and fraudulent complaints.
27

28

                                        9
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 10
                                                                            Page
                                                                               of 81
                                                                                  11 of 82



 1     38. Plaintiff Mitchell Taylor Button, (“Taylor Button”), was one of the world’s most
 2        influential custom Ferrari and military vehicle designers and builders for seven years,
 3
          approximately from 2014 – 2021, with his work having been published in media
 4
          publications across the globe for his automotive design, builds and work in the
 5
          industry.
 6

 7     39. Plaintiff has positively influenced hundreds of thousands of people nationally and

 8        internationally and has been procured from global organizations for speaking

 9        engagements and commissions that continue to live on with his legacy today despite
10
          the destruction of his life’s work by Defendants.
11
       40. Plaintiff Taylor Button’s Instagram account, @button_built, at the time of the events
12
          described herein, amassed nearly half of a million followers and subscribers.
13
       41. Mr. Button deleted his social media account in 2021 after succumbing to trauma from
14

15        severe cyber bullying and harassment which Plaintiff endured as a direct result of

16        Defendants’ conspiracy, collusion with the media and defamatory statements, in an
17        unethical play to a mass audience and waging a defamatory global media campaign
18
          against Taylor to destroy his livelihood, career, reputation and business and to gain
19
          attention and traction for Defendants’ clients’ false and fraudulent complaints.
20
       42. Plaintiffs’ names and likeness was their business and generated one hundred percent
21

22        of their yearly revenue whereas, Plaintiffs, themselves and what they provided to their

23        respective industries was solely based on what they provided as their name brands,

24        known as Dusty Button, Taylor Button, Mitch/Mitchell Button, Mitchell Taylor
25        Button, “The Buttons”, Button Built, Button Brand, Bravado by Dusty Button,
26
          Meisturwerk and Meisturwerk Machinen.
27

28

                                        10
                        COMPLAINT AND DEMAND FOR JURY TRIAL
         Case 2:21-cv-01412-ART-EJY
              Case 1:24-cv-05888-UA             Document
                                                Document 1437-32
                                                             Filed 07/29/24
                                                                   Filed 01/06/25
                                                                              Page 11
                                                                                   Page
                                                                                      of 81
                                                                                         12 of 82



 1         43. Plaintiffs’ established businesses, goods and services were directly sourced and
 2            provided from their good names, talent, expertise, reputations, skills, manufacturing
 3
              and marketing capabilities, which were completely destroyed by Defendants and their
 4
              abuse of power to influence the media, the public, the press and any potential juror as
 5
              famous, world-renowned attorneys and one of the largest and most influential media
 6

 7            publications in the world.

 8         44. A culture of defamation permeates and plagues the #MeToo movement, particularly in

 9            the entertainment industries and has in turn, destroyed the credibility of real victims
10
              everywhere, while simultaneously mocking the judicial system and enabling people to
11
              weaponize the civil justice system with false accusations, which ultimately have the
12
              same consequence on innocent lives as they would if they were true accusations
13
              against guilty parties, rendering Courts and Parties afraid to defend against claims of
14

15            this magnitude due to the inevitable nuclear social fallout.

16         45. The culture of defamation has dialed the integrity of civil litigation back decades, as
17            recently seen in cases around the world such as Depp v. Heard3, Bauer v. Hill4 and
18
              recently, the Eleanor Williams5 case in England, all of which proved innocent parties’
19
              lives were completely destroyed by false and defamatory statements, not only made
20
              through frivolous litigation, but in the media, the news and in the press.
21

22         46. Other prominent dancers have been publicly defamed and severely harassed in past

23            years, through fraudulent and defamatory statements online including but not limited

24            to British dancer and choreographer Liam Scarlett, who sadly took his own life as a
25

26
     3
       Depp v. Heard, No. CL-2019-2911 (Va. Cir. Ct. Jul. 25, 2019)
27   4
       Trevor Bauer v. Lindsey C. Hill (8:22-cv-00868) District Court, C.D. California
     5
       https://www.judiciary.uk/wp-content/uploads/2023/03/R-v-Eleanor-Williams-sentencing.pdf
28

                                            11
                            COMPLAINT AND DEMAND FOR JURY TRIAL
         Case 2:21-cv-01412-ART-EJY
              Case 1:24-cv-05888-UA              Document
                                                 Document 1437-32
                                                              Filed 07/29/24
                                                                    Filed 01/06/25
                                                                               Page 12
                                                                                    Page
                                                                                       of 81
                                                                                          13 of 82



 1            direct cause of false and defamatory statements in the media and through industry
 2            gossip. “We feel Liam would not have taken his life if his name hadn’t been dragged
 3
              through the press with inaccurate allegations”, stated by Deborah Scarlett, Liam’s
 4
              mother.
 5
           47. Liam Scarlett was cleared of any wrongdoing, but only after his death which included
 6

 7            the false and defamatory statements of misconduct with children, which were all

 8            proven to be false statements but which were never acknowledged or rectified by

 9            any media source to date including but not limited to The New York Times
10
              Company6.
11

12                                         STATEMENTS OF FACT
13
           48. On July 29th, 2021, Julia Jacobs published an article about Plaintiffs in the “Arts and
14

15            Culture” section with the title, “Former Dance Instructor Accused of Sexual Assault in

16            Lawsuit”.
17         49. Defendant’s article was published prior to Plaintiffs ever being served with the
18
              complaint or Plaintiffs having any knowledge of the lawsuit which had been filed
19
              against Taylor but which named his wife, Plaintiff Dusty Button, as a non-party co-
20
              conspirator.
21

22         50. The lawsuit was intentionally served on Plaintiff Mitchell Taylor Button after Ms.

23            Jacobs’ article was published.

24

25

26
     6
       The New York Times even posted a disgusting “follow up” article following Liam Scarlett’s suicide with the
27   title “Liam Scarlett, Choreographer Accused of Sexual Misconduct, Dies at 35”…
     https://www.nytimes.com/2021/04/17/arts/dance/liam-scarlett-dead.html .
28

                                             12
                             COMPLAINT AND DEMAND FOR JURY TRIAL
         Case 2:21-cv-01412-ART-EJY
              Case 1:24-cv-05888-UA               Document
                                                  Document 1437-32
                                                               Filed 07/29/24
                                                                     Filed 01/06/25
                                                                                Page 13
                                                                                     Page
                                                                                        of 81
                                                                                           14 of 82



 1         51. In fact, the summons for Mr. Button had not yet even been issued until after Ms.
 2              Jacobs’ article was published.
 3
           52. Two years later, Plaintiffs were provided an email which proved that attorneys from
 4
                Boies Schiller & Flexner, Lindsey Ruff and Sabina Mariella in conjunction with their
 5
                associate and non-party co-conspirator Sigrid McCawley and associate and Public
 6

 7              Relations and Communications Director, Dawn Schneider, made an agreement

 8              arranging for Julia Jacobs to interview their clients for Ms. Jacobs’ article during one

 9              of many telephone interviews on July 26th, 2021, days prior to filing the complaint
10
                with the Court.
11
           53. Prior to July 26th, 2021, Ms. McCawley and her associates, including Ms. Schneider
12
                had already arranged prior meetings with Ms. Jacobs, as testified to by non-party and
13
                Defendant in a separate litigation with Plaintiffs, Madison Breshears7 who took
14

15              matters into her own hands by publishing an entire defamatory and harassment

16              campaign against Plaintiffs on May 13th, 2021 as she “knew the article was coming
17              out” and “wanted to be the first to break the story”, as explained further herein.
18
           54. Plaintiffs have sued Ms. Breshears who has admitted, now three years later, that she
19
                would not have made the defamatory posts on an anonymous Instagram account if she
20
                had known Plaintiffs were “going to sue her”.
21

22         55. Madison Breshears is the friend of Sage Humphries, (one of the subjects of Ms.

23              Jacobs’ article and client of attorneys from Boies Schiller & Flexner), who “knew the

24              article was coming out in the New York Times” months prior to the article being
25              published, leading her to post false and defamatory statements against Plaintiffs on
26

27
     7
         See case 1:24-cv-03757-MKV – Button et al v. Breshears
28

                                               13
                               COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA            Document
                                           Document 1437-32
                                                        Filed 07/29/24
                                                              Filed 01/06/25
                                                                         Page 14
                                                                              Page
                                                                                 of 81
                                                                                    15 of 82



 1         May 13th, 2021 via a viral Instagram bullying and harassment campaign against
 2         Plaintiffs so she would be the first to “break the story”.
 3
       56. The following defamatory, harassing and online bullying campaign was waged against
 4
           Plaintiffs on May 13th, 2021 by Madison Breshears in collusion with her friend Sage
 5
           Humphries, Ms. Humphries’ attorneys and Julia Jacobs.
 6

 7     57. May 13th, 2021, was the most traumatizing day of Plaintiffs’ lives until Ms. Jacobs’

 8         article was posted on July 29th, 2021; the trauma and depression which followed

 9         nearly led Plaintiffs to take their own lives as a direct and proximate result of
10
           Defendants’ conduct.
11

12   Defendants’ Unethical Collusion with Non-Party, Madison Breshears on May 13th, 2021
13
       58. Around 9:00pm EST on May 13th, 2021, Plaintiff Dusty Button received an initial
14

15         attack of two false and defamatory public comments on her Instagram profile page in

16         response to a video she posted of herself dancing from Madison Breshears’ personal
17         Instagram account with the username, @mjbreshears, which stated the following:
18
19   “stop preying on young girls” and “feel like y’all should know she can’t keep a ballet job bc

20               she grooms young girls into sex acts with herself and her husband”.
21

22

23

24

25

26

27

28

                                         14
                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 15
                                                                             Page
                                                                                of 81
                                                                                   16 of 82



 1      59. Within seconds of Plaintiffs blocking and reporting, (what Plaintiffs now know to be
 2         Madison Breshears’ personal account), @mjbreshears, the following defamatory
 3
           statements were posted by Madison Breshears on her anonymous, yet famous account
 4
           @Real_World_Ballerina:
 5
                            POST ONE BY MADISON BRESHEARS
 6

 7                          “PSA: DUSTY BUTTON IS A PREDATOR”

 8

 9
10

11

12

13

14

15

16

17

18
19

20

21

22
                            POST TWO BY MADISON BRESHEARS
23
       “This keeps getting removed. And she blocked me. But if you follow Dusty Button, you
24

25   should know she can’t keep a ballet job because she grooms young girls to engage in sex acts

26                                  with herself and her husband”.
27

28

                                         15
                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 16
                                                                            Page
                                                                               of 81
                                                                                  17 of 82



 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18
19

20

21

22

23                        POST THREE BY MADISON BRESHEARS
24
     “[toxic emoji], if u or someone u know has been victimized by dusty_button, u aren’t alone.
25
     She can’t keep a ballet job because she grooms young dancers for sex acts with herself and
26

27

28

                                        16
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 17
                                                                            Page
                                                                               of 81
                                                                                  18 of 82



 1   her husband. This will probably get removed, she has managed to block and remove my other
 2                  posts, but I hope at least someone can see this [toxic emoji]”.
 3

 4

 5

 6

 7

 8

 9
10                          POST FOUR BY MADISON BRESHEARS
11
        “I have friends who have personally been victimized, or known someone victimized by
12
                             @dusty_button. Don’t give her a platform”.
13

14

15

16

17

18
19

20

21

22

23

24
                            POST FIVE BY MADISON BRESHEARS
25
      “I don’t expect anyone to take my word on faith! This is a serious accusation, and you are
26

27   justified in being skeptical. From my end, knowing what I know (but am unable to disclose in

28

                                         17
                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA             Document
                                            Document 1437-32
                                                         Filed 07/29/24
                                                               Filed 01/06/25
                                                                          Page 18
                                                                               Page
                                                                                  of 81
                                                                                     19 of 82



 1   detail), I feel like the right thing to do is at least warn you guys. If anyone is at least a little
 2                     more careful or cautious around her, it’s worth it to me.”
 3

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18
19

20

21

22

23

24     60. Madison Breshears posted near exact verbiage of what would be written in the written
25
           complaint filed by Defendants McCawley, Ruff and Mariella and published by Julia
26
           Jacobs three months later.
27

28

                                         18
                         COMPLAINT AND DEMAND FOR JURY TRIAL
         Case 2:21-cv-01412-ART-EJY
              Case 1:24-cv-05888-UA               Document
                                                  Document 1437-32
                                                               Filed 07/29/24
                                                                     Filed 01/06/25
                                                                                Page 19
                                                                                     Page
                                                                                        of 81
                                                                                           20 of 82



 1         61. Madison Breshears is also a licensed attorney in New York, previously working for
 2              Davis Wright Tremaine.
 3
           62. On May 13th, 2024, Plaintiffs filed a federal lawsuit against Madison Breshears for
 4
                defamation, civil conspiracy and cyber harassment amongst other claims, which is
 5
                currently pending in the Southern District Court of New York.
 6

 7         63. On May 24th, 2024, Plaintiffs filed a federal lawsuit against non-party to this litigation

 8              and co-conspirator, Sigrid McCawley, in the Southern District Court of Florida for

 9              defamation and civil conspiracy, pertaining to her many false and defamatory
10
                statements made to the media which fall outside her first amendment rights and
11
                privilege as an attorney, equally stating, (like Ms. Jacobs), that Plaintiffs were
12
                “criminally charged”, amongst other false, defamatory and destructive statements8;
13
                whereas, a trial date has already been set for November of 2025.
14

15         64. Defendants’ conspiracy and collusion is clear and intentional.

16         65. Defendant Julia Jacobs continued her collusion with Defendants by stating exactly
17              what Ms. McCawley stated in her own defamatory statements and that is that Plaintiffs
18
                were criminally charged.
19
           66. Plaintiffs have never been criminally charged with anything and Ms. Jacobs’ false
20
                statement led readers to believe Plaintiffs had been charged with a crime.
21

22         67. As a direct and proximate result of the false, defamatory and misleading statements

23              made by Boies Schiller & Flexner attorneys and their clients and Ms. Jacobs’ decision

24              to intentionally harm Plaintiffs by making a false statement of fact in her article that
25              Plaintiffs “denied the charges”, the following hate pages and defamatory statements
26

27
     8
         See case: 0:24-cv-60911-DSL - Button et al v. McCawley
28

                                               19
                               COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 20
                                                                             Page
                                                                                of 81
                                                                                   21 of 82



 1          were made by innumerable third-parties about Plaintiffs as they were misled to believe
 2          that Plaintiffs were “charged” and going to prison:
 3
             •    “Hey Dusty! I hope prison is everything you hope for! Maybe those tilts and
 4
            competition tricks will come in handy behind bars?! Best of luck!” – Instagram user -
 5
                                                 @lauramarbs
 6

 7

 8

 9
10

11

12

13

14

15

16

17

18
        •    “@schonraker_foto him and the missus have been too busy BF’n little girls to make
19
                 social media posts it would appear” – Instagram user @the_mechanicalanimal.
20

21

22

23

24

25

26

27

28

                                          20
                          COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA             Document
                                            Document 1437-32
                                                         Filed 07/29/24
                                                               Filed 01/06/25
                                                                          Page 21
                                                                               Page
                                                                                  of 81
                                                                                     22 of 82



 1     •       “Hi! According to a recent post by @real_world_ballerina, dusty button is a predator
 2               who is not someone people should be looking up to! Just spreading the word.” –
 3
                                         Instagram User - @cheryltanxr
 4

 5

 6

 7

 8

 9
10

11         •    “#dustybutton You child rap1st P#S. You need to be thrown in a wood chipper.” –

12                                       Instagram User - @dunerooster

13         •    “Child rapist POS. You need to be thrown in a wood chipper.” – Instagram User -
14                                                @dunerooster
15

16

17

18
19

20

21

22

23

24

25         •    As another example, (depicted by the screenshot below), numerous hate pages and
26
               accounts were created as a direct result of Defendants’ conspiracy and collusion with
27

28

                                           21
                           COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA         Document
                                        Document 1437-32
                                                     Filed 07/29/24
                                                           Filed 01/06/25
                                                                      Page 22
                                                                           Page
                                                                              of 81
                                                                                 23 of 82



 1         the media and the intentionally misleading statements that Plaintiffs were “charged”
 2                                         and going to prison.
 3
      • Username – @dusty_button_hatepage (depicting Plaintiff Dusty Button in prison).
 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                       22
                       COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 23
                                                                             Page
                                                                                of 81
                                                                                   24 of 82



 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18
19

20

21     68. This is just a mere fraction of the communications, notifications, threats and
22        harassment which Plaintiffs received following Defendants’ defamatory post, all of
23
          which Plaintiffs have documented and preserved for discovery.
24
       69. On May 27th, 2024, Ms. Breshears stated on a phone call to Plaintiffs that she had not
25
          spoken to Boies Schiller & Flexner’s clients prior to her defamatory statements being
26

27        made on May 13th, 2021, proving she conspired with non-party co-conspirator Sigrid

28

                                        23
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA            Document
                                           Document 1437-32
                                                        Filed 07/29/24
                                                              Filed 01/06/25
                                                                         Page 24
                                                                              Page
                                                                                 of 81
                                                                                    25 of 82



 1        McCawley and Defendants Ruff, Mariella and Jacobs to make her online, defamatory
 2        publications prior to the complaint being filed as the information received by
 3
          Ms. Breshears was identical to the defamatory statements made by Ms. McCawley and
 4
          but which are not similar to the complaint but which created a platform for the article
 5
          to come.
 6

 7     70. Defendants Ruff and Mariella, in conjunction with non-party co-conspirator, Sigrid

 8        McCawley colluded with their client, Ms. Breshears and Ms. Jacobs to produce and

 9        publish an article which supported the narrative that Ms. McCawley forced upon the
10
          public and any potential jury, intentionally crippling Plaintiffs defense.
11
       71. In fact, Ms. Jacobs’ title to her article even states, “former dance instructor”; Plaintiff
12
          Mitchell Taylor Button has not danced or instructed dance since 2010.
13
       72. As previously stated, at the time of the events herein, Mr. Button was one of the
14

15        world’s most influential custom Ferrari and military vehicle designers and builders for

16        seven years, approximately from 2014 – 2021, with his work having been published in
17        media publications across the globe for his automotive design, builds and work in the
18
          industry.
19
       73. The New York Times publication was detrimental to Plaintiffs as it not only contained
20
          false and fraudulent allegations related to the frivolous litigation, but it intentionally
21

22        and falsely stated that Plaintiffs, together, abused Ms. Humphries and Ms. Menichino

23        as a direct result of Sigrid McCawley’s and Defendants’ Ruff, Mariella and Jacobs’

24        manipulative narrative which was so desperately forced on the public as comparison to
25        Epstein and Maxwell, as the Boies Schiller Flexner firm had so recently received such
26
          fame and notoriety for.
27

28

                                         24
                         COMPLAINT AND DEMAND FOR JURY TRIAL
         Case 2:21-cv-01412-ART-EJY
              Case 1:24-cv-05888-UA                Document
                                                   Document 1437-32
                                                                Filed 07/29/24
                                                                      Filed 01/06/25
                                                                                 Page 25
                                                                                      Page
                                                                                         of 81
                                                                                            26 of 82



 1         74. Defendants Ruff and Mariella in conjunction with Ms. McCawley, knew their
 2            narrative to be false but colluded with Julia Jacobs to produce and publish a “story”
 3
              which would corroborate their clients’ false allegations and further, support their false
 4
              narrative against Plaintiffs.
 5
           75. The New York Times article was reposted hundreds of thousands of times,
 6

 7            additionally causing third parties within Plaintiffs’ industries to further defame them

 8            including that it was posted to at least three different platforms whereas, each platform

 9            consists of a different audience9.
10
           76. Madison Breshears’ involvement in the defamatory and harassing online campaign
11
              against Plaintiffs, paired with her testimony (on a legally recorded phone call), the
12
              date on which Boies Schiller & Flexner filed the July 28th, 2021 complaint and Ms.
13
              Jacobs’ timing of the published article without Plaintiffs even having an issued
14

15            summons or complaint in their hands proves beyond any reasonable doubt that

16            Defendants strategically, unethically and unlawfully conspired and colluded against
17            Plaintiffs to completely destroy their livelihoods and defense against them.
18
           77. To further prove the strategic conspiracy against Plaintiffs, Defendants from Boies
19
              Schiller & Flexner filed their clients’ (frivolous) complaint on the day their clients’
20
              statute of limitations expired, twelve years later.
21

22

23

24   9
       In Kanerak v. Bugliosi, an allegedly libelous book that was republished in paperback form, although identical
     in form and content to the earlier hardcover edition, was intended to and did reach a new group of readers, and
25   therefore constituted the basis for a new cause of action. The Second Restatement of Torts states that the single
     publication rule does not include separate aggregate publications on different occasions. In these cases, if the
26   publication reaches a new group, the repetition justifies a new cause of action. The originator of defamatory
     matter may be liable for each "repetition" of the defamatory matter by a second party "if he could reasonably
27   have foreseen the repetition."

28

                                              25
                              COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 26
                                                                             Page
                                                                                of 81
                                                                                   27 of 82



 1     78. Ms. Jacobs’ article was even published prior to a summons being issued to Plaintiff
 2        Mitchell Taylor Button on July 29th, 2021.
 3
       79. Two years later, on August 23rd, 2023, Plaintiffs discovered that attorneys and
 4
          communications director from Boies Schiller & Flexner, Dawn Schneider, colluded
 5
          with Ms. Jacobs and The New York Times Company to intentionally ensure Ms.
 6

 7        Jacobs’ article about Plaintiffs was published prior to the Complaint being filed and

 8        prior to Plaintiffs being served with the Complaint.

 9     80. Aside from the allegations stated within the article being reliant on false allegations in
10
          their entirety, Ms. Jacobs’ article consists of defamatory statements for example, her
11
          article intentionally misleads and confuses readers to believe that Plaintiffs had been
12
          “charged” with crimes and were going to prison as she makes an entirely false
13
          statement:
14

15
                  A lawyer for the couple said that they denied the charges.
16

17     81. Ms. Jacobs intentionally misled readers to believe Plaintiffs had been “charged” with a
18
          crime, resulting in created hate pages against Plaintiffs, death threats and confusion
19
          whether or not Plaintiffs were charged with a crime; they were not.
20
       82. Plaintiffs’ attorney actually stated to Ms. Jacobs:
21

22
                  "Taylor and Dusty Button categorically deny these baseless claims and they
23
                  look forward to the opportunity through court proceedings to disprove all of
24
                  the plaintiffs' false and fraudulent allegations."
25

26

27

28

                                         26
                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 27
                                                                            Page
                                                                               of 81
                                                                                  28 of 82



 1     83. Ms. Jacobs knew that she was intentionally misleading readers, including any potential
 2        juror as she quoted Plaintiffs’ attorney in the article and then made the decision to
 3
          state that “a lawyer for the couple said that they denied the charges”.
 4
       84. Ms. Jacobs additionally knew this was a misleading statement of fact which was false,
 5
          defamatory and in fact, never said by anyone, as she appropriately leaves the statement
 6

 7        out of quotations, proving it was an additional misleading and maliciously crafted

 8        statement made for shock value.

 9     85. On October 1st, 2023, Plaintiff Dusty Button called Ms. Jacobs to address the
10
          defamatory nature of her article which was legally recorded as Plaintiffs reside in a
11
          one-party consent state.
12
       86. On the call, Ms. Jacobs referred Plaintiffs to contact her attorney, Defendant David
13
          McCraw, to address any questions or concerns regarding her July 29th, 2021, article
14

15        and her collusion with Boies Schiller Flexner attorneys stating:

16
                  1) “Because this is a litigation I should really discuss with our attorney”.
17

18                    And;

19                2) “Let me talk to our counsel to let me know how to proceed here”.

20                    Plaintiff Dusty Button proceeded to ask Ms. Jacobs if Sigrid McCawley
21                    informed Ms. Jacobs of the lawsuit prior to the lawsuit actually being
22
                      served whereas, Ms. Jacobs’ response was as follows:
23

24                       “Okay… so… yea.”;
25

26

27

28

                                        27
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA             Document
                                            Document 1437-32
                                                         Filed 07/29/24
                                                               Filed 01/06/25
                                                                          Page 28
                                                                               Page
                                                                                  of 81
                                                                                     29 of 82



 1     87. Ms. Jacobs further stated to Plaintiffs that if they wanted to send her an email, she
 2        “can make sure that gets to our lawyer who should be dealing with these types of
 3
          matters.”
 4
       88. As seen from the forementioned statements, Ms. Jacobs confirmed attorneys and
 5
          Defendants from Boies Schiller & Flexner conspired and colluded with Ms. Jacobs
 6

 7        prior to the lawsuit ever being served on Plaintiffs to produce a narrative that was false

 8        and defamatory in its entirety.

 9     89. On October 2nd, 2023, Ms. Jacobs sent a text message to Plaintiff Dusty Button with
10
          Defendant David McCraw’s contact information.
11
       90. On November 5th, 2023, Plaintiffs emailed Mr. McCraw the following message:
12

13        Good evening David,
14

15        I am reaching out to you in regard to a federal civil litigation in Nevada in which my

16        husband and I are Pro se Defendants against Boies Schiller Flexner in the case
17        Humphries et. al v. Button (2:21-cv-01412-ART-EJY). I was given your contact
18
          information by Julia Jacobs who I spoke to very briefly a couple of weeks ago on the
19
          phone and stated we should contact you directly in regard to her article (which I have
20
          pasted below), as she is listed as a witness on Initial Disclosures for this case. We
21

22        have also received communications pertaining to Ms. Jacobs in discovery and did

23        have some questions regarding her involvement with Boies Schiller Flexner and

24        Plaintiffs involved in the case, particularly the communications and publishing of her
25        article prior to my husband and I ever being served with this lawsuit.
26

27

28

                                        28
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA         Document
                                        Document 1437-32
                                                     Filed 07/29/24
                                                           Filed 01/06/25
                                                                      Page 29
                                                                           Page
                                                                              of 81
                                                                                 30 of 82



 1       I did attempt to ask a few questions on the phone but Ms. Jacobs referred us to you for
 2       these questions and other relevant documents to this litigation. I did follow up with
 3
         Ms. Jacobs via text message and am happy to provide those communications if
 4
         necessary but respectfully, we are reaching out to you per her request. My husband
 5
         and I were issued a subpoena for Ms. Jacobs by the Federal District Court of Nevada
 6

 7       for the Production of Documents and are happy to have that served however, as she is

 8       represented by Counsel as many others have been, we know how daunting it is to be

 9       served publicly and really just have a few questions in relation to our Counterclaim
10
         against Ms. Humphries and Ms. Menichino regarding Ms. Jacobs' involvement, as
11
         well as her initial involvement with Boies Schiller Flexner regarding the article which
12
         was posted on July 28th, 2021. Our intentions are solely to perform our due diligence
13
         pertaining to witnesses as we are nearing the end of this litigation and will be
14

15       pursuing other litigation and want to ensure all facts surrounding parties are accurate

16       and absolute.
17

18       Please let me know if you will accept the subpoena via email or prefer personal

19       service on Ms. Jacobs, or if (like others) you would prefer questions via email rather

20       than service of the subpoena to Ms. Jacobs. If you or Julia Jacobs have followed our
21       case, you’ll know that we have enjoyed (though pro se), the last year battling such a
22
         corrupt firm and while they have now finally accepted the reality that their litigation
23
         was entirely frivolous and thus asked that we end this via a settlement conference, we
24
         have no intention of allowing their corruption and misconduct to go without
25

26       consequence… misconduct and corruption that we believe you, yourself are all too

27

28

                                      29
                      COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 30
                                                                            Page
                                                                               of 81
                                                                                  31 of 82



 1        familiar with following David Boies’ behavior with the New York Times on multiple
 2        occasions and particularly in 2019.
 3

 4        If you prefer a phone call, my number is 310-499-8930. We appreciate your time.

 5        Thank you,
 6
          Dusty and Taylor Button
 7
          (Pro se)
 8

 9        https://www.nytimes.com/2021/07/29/arts/dance/mitchell-button-dusty-button-
10
          abuse.html
11

12     91. On November 8th, 2023, Plaintiffs received a response however, the response was not
13        from Defendant David McCraw and instead, the response was from Defendant
14
          Demetri Blaisdell, “attorney for Ms. Jacobs” and former associate of Boies Schiller &
15
          Flexner LLP, (during the time in which Ms. Jacobs’ article was published in 2021).
16
          The response was as follows:
17

18
          Ms. Button,
19

20                David forwarded your message to me. I represent Ms. Jacobs so please
21        contact me instead of Ms. Jacobs about this going forward. Please let me know when
22
          you are available to speak by phone. As it stands, I can speak between 1:00 and 4:30
23
          pm Eastern today. Thanks.
24

25
          Best,
26
          Demetri
27

28

                                        30
                        COMPLAINT AND DEMAND FOR JURY TRIAL
      Case 2:21-cv-01412-ART-EJY
           Case 1:24-cv-05888-UA                       Document
                                                       Document 1437-32
                                                                    Filed 07/29/24
                                                                          Filed 01/06/25
                                                                                     Page 31
                                                                                          Page
                                                                                             of 81
                                                                                                32 of 82



 1
          92. Following Plaintiffs’ further email communications with Defendant Blaisdell, he
 2

 3                additionally stated, “I do represent Ms. Jacobs personally, as well as The Times,

 4                regarding this matter. I work with David but I'll be handling this.”

 5        93. At 2:30pm on November 9th, 2023, Plaintiff Dusty Button spoke with Defendant
 6                Blaisdell for nearly an hour and a half whereas, Mr. Blaisdell made intentionally
 7
                  intimidating legal threats against pro se Plaintiffs on the phone call and unethically
 8
                  provided pro se Plaintiffs with unsolicited legal advice regarding Plaintiffs’ litigation
 9
                  and the matters with his own client, which is the modus operandi of any attorney at
10

11                Boies Schiller & Flexner LLP.

12        94. The following statements were made during a legally recorded phone call with Mr.
13                Blaisdell on November 9th, 2023 on or around 2:30pm10:
14
                                     •   “I’m kinda sposed to talk to a lawyer instead of you”.
15
              •           “There’s a few reasons why we are not inclined to go there”, (referring to Plaintiff
16
                      Dusty Button’s statement inquiring about the very questions Ms. Jacobs stated would
17
                           be answered by her attorney, who then stated he was “not inclined to go there”.
18
19                    •     “We’re not going to be waiving service or attempting an alternative method”.

20                •        “If you do decide to proceed, you’ll need to serve that on me because I am Ms.
21                                                          Jacobs lawyer”.
22
          •       “To inform you of some things that I’m not sure you’re aware of, there are shield laws
23
                  in New York and Nevada which make it very difficult or impossible to get information
24
                           that journalists have gathered in the course of their duties and so if you do try to
25

26
     10
       Plaintiffs are more than willing to provide the Court with the entire phone call on November 9th, 2023. The
27   forementioned statements are the most relevant to this action in which Mr. Blaisdell intentionally threatened
     Plaintiffs to impede their defense and ability to discover imperative information.
28

                                                     31
                                     COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA                     Document
                                                    Document 1437-32
                                                                 Filed 07/29/24
                                                                       Filed 01/06/25
                                                                                  Page 32
                                                                                       Page
                                                                                          of 81
                                                                                             33 of 82



 1             proceed down this ave[nue] I think it is extremely unlikely that you will be able to get
 2                                 any documents or any information from my client.”
 3
           •    “I’m providing you with this information not to threaten you but just to let you know
 4
                                  what you’d be facing in trying to get this information”
 5
               •    “It really does sound like the information that you’re looking for is exactly the
 6

 7                                information that’s protected under the shield laws…”

 8     •       “Who my client spoke with and who Lindsey, (referring to Defendant Ruff), spoke with

 9                 and the contents of those conversations, those are all exactly what is protected”.
10
                                          •     “I would urge you to reconsider”.
11
                              •    “I do not think this will be a fruitful thing for you”.
12
                                      •       “I don’t want you to waste your time”.
13
       •       “We’re not going to make me Jacob’s available on an informal or formal basis in this
14

15                                                          matter”.

16     95. Following the phone call with Mr. Blaisdell, Plaintiffs received the following email
17             from Mr. Blaisdell:
18
               Ms. Button,
19
               Thank you for speaking with me today. As we discussed, my client Ms. Jacobs will not
20
               be providing any information regarding this matter and we will oppose any attempt
21

22             to seek discovery from her via a subpoena. Should you choose to serve a subpoena,

23             you will need to serve it on me as Ms. Jacob's lawyer. Unless I hear from you further,

24             we will consider this matter closed.
25             Best,
26             Demetri

27

28

                                             32
                             COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 33
                                                                             Page
                                                                                of 81
                                                                                   34 of 82



 1     96. Mr. Blaisdell “closed the door” on a matter that was still very much relevant and open
 2        to intentionally intimidate and prevent Plaintiffs from further communication in order
 3
          to withhold imperative information regarding his client and the unethical and unlawful
 4
          collusion between Defendant Julia Jacobs and his former associates, Defendants
 5
          McCawley, Ruff, Mariella, and Schneider.
 6

 7     97. Following Plaintiffs’ phone call with Mr. Blaisdell, Plaintiffs conferred with

 8        Defendants McCawley, Ruff and Mariella to verify whether or not they communicated

 9        with their former associate Demetri Blaisdell whereas, they verified Mr. Blaisdell had
10
          reached out to them to inform them of Plaintiffs’ communications and that Plaintiffs
11
          intended to serve a subpoena on Ms. Jacobs prior to the phone call with Ms. Button on
12
          November 9th, 2023.
13
       98. On January 29th, 2024, following the conducted deposition of one of Boies
14

15        Schiller Flexner’s clients who was the subject of Ms. Jacobs’ articles, Plaintiffs

16        reached out to Mr. Blaisdell regarding the previously discussed retraction in Ms.
17        Jacobs’ New York Times article written on July 29th, 2021 about Plaintiffs, giving
18
          ample opportunity for that previously discussed retraction to take place.
19
       99. Instead of Mr. Blaisdell providing a time for a discussion regarding the very
20
          retraction he proposed, he proceeded to give unsolicited legal advice regarding what
21

22        could or could not be shared from the deposition, informing Plaintiffs of a protective

23        order in their own litigation which was not of concern to Mr. Blaisdell particularly

24        considering the discussion was not relevant to “sharing” information about that
25        deposition stating, “As we have discussed previously, the protective order may limit
26
          what you are able to share with me regarding any recent deposition testimony”.
27

28

                                        33
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 34
                                                                             Page
                                                                                of 81
                                                                                   35 of 82



 1     100.       First, Plaintiffs had never mentioned a protection order; Second, Plaintiffs
 2        never stated they would be sharing deposition testimony with Mr. Blaisdell, nor did
 3
          they intend to as they are aware of their own litigation and the procedures within that
 4
          litigation however, Mr. Blaisdell should not be aware of any protection order in a
 5
          litigation he is not involved it; Third, it is apparent that every word stated by Plaintiffs
 6

 7        to Mr. Blaisdell was passed to the attorneys at Boies Schiller & Flexner who are still

 8        representing clients against Plaintiffs in a separate litigation which Mr. Blaisdell has

 9        no involvement in but who intentionally impeded upon.
10
       101.       Instead of Mr. Blaisdell addressing the previously discussed retraction of his
11
          clients’ article he stated, “I disagree with your characterizations of Ms. Jacobs’s
12
          reporting. The story was a fair account of the lawsuit that contained a statement on
13
          behalf of you and Mr. Button.”
14

15     102.       As mentioned in the forementioned statements, Plaintiffs were not even aware

16        of any lawsuit against them prior to or at the time Ms. Jacobs’ article was published;
17        even if they had been given the opportunity to “comment”, that “comment” would
18
          have been a singular statement made with no context relevant to a lawsuit which
19
          Plaintiffs were not only unaware of but did not yet have in their possession.
20
       103.       Further, even if Plaintiffs had been given the opportunity to “comment” on Ms.
21

22        Jacobs article, Ms. Jacobs had already made the intentional decision to neglect her

23        duties in investigating the allegations whereas, there was publicly available

24        information and documentation proving the allegations to be false thereby, proving
25        that Ms. Jacobs intentionally and knowingly published an article for shock value while
26

27

28

                                        34
                        COMPLAINT AND DEMAND FOR JURY TRIAL
      Case 2:21-cv-01412-ART-EJY
           Case 1:24-cv-05888-UA                  Document
                                                  Document 1437-32
                                                               Filed 07/29/24
                                                                     Filed 01/06/25
                                                                                Page 35
                                                                                     Page
                                                                                        of 81
                                                                                           36 of 82



 1           colluding with attorneys from Boies Schiller & Flexner to assist them in gaining an
 2           advantage in litigation.
 3
         104.         Moreover, it would not have mattered if Plaintiffs were given the opportunity
 4
             to “comment” on a story which was already written, which contained false accusations
 5
             that Ms. Jacobs would have known about had she been diligent in her duties to
 6

 7           investigate as a journalist; as Sigrid McCawley and her associates from Boies Schiller

 8           had already colluded with Ms. Jacobs to produce and publish false and defamatory

 9           allegations including because Ms. McCawley and her associates intentionally withheld
10
             imperative documents which would have shown the lawsuit filed on July 28th, 2021, in
11
             its entirety… was fraudulent11.
12
         105.         Defendants McCawley, Ruff, Mariella and Schneider knew that the allegations
13
             stated within the complaint were frivolous and false in their entirety, intentionally
14

15           neglecting to provide any documentation to support the allegations listed in the

16           complaint and further, to support the article written by Ms. Jacobs.
17       106.         Defendants knew the article written by Ms. Jacobs prior to Plaintiffs being
18
             served, would cripple Plaintiffs defense against the fraudulent and heinous accusations
19
             as they knew Plaintiffs were highly respected and sought after in their respective
20
             industries; knew the misleading title of the article would destroy Plaintiffs’ reputations
21

22           and that it would result in the complete dissemination of Plaintiffs’ careers and

23

24

25
     11
        On February 17th, 2023, Honorable Judge Traum entered an Order in Nevada denying Sage Humphries’ (client
26   of Boies Schiller &Flexner attorneys and Defendants listed herein; and subject of Ms. Jacobs’ article), motion to
     dismiss Dusty and Taylor Button’s defamation claim against her whereas the Court stated: “Based on the details
27   herein and in lights of the record as a whole, the Court denies Sage Humphries’ Motion to Dismiss the
     counterclaim of defamation per se.”
28

                                              35
                              COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 36
                                                                             Page
                                                                                of 81
                                                                                   37 of 82



 1        business relations but colluded to produce and publish the article anyway to gain an
 2        advantage in the litigation against Plaintiff’s.
 3
       107.       Ms. Jacobs’ statement at the end of her article stating, A lawyer for the couple
 4
          said that they denied the charges, is not only false in its entirety as their previous
 5
          attorney did not in fact make this statement on behalf of the Buttons; Ms. Jacobs
 6

 7        intentionally stated there were “charges” against Plaintiffs, leading the public and any

 8        potential juror to believe that Plaintiffs were charged with a crime.

 9     108.       Plaintiffs have never been charged with a crime nor have they ever had
10
          pending charges against them for any crime, as they have never committed a crime.
11
       109.       As previously stated, what Plaintiff’s previous attorney actually stated was:
12

13
          "Taylor and Dusty Button categorically deny these baseless claims and they look
14

15        forward to the opportunity through court proceedings to disprove all of the plaintiffs'

16        false and fraudulent allegations."
17

18
       110.        As seen in the forementioned statement, Plaintiffs’ former attorney never
19
          mentioned any statement about “charges” or the Plaintiffs “being charged”, as there
20
          was no such statement and instead, there were two statements regarding the “claims”
21

22        and “fraudulent allegations”.

23     111.       Ms. Jacobs’ choice of the word “charges” was intentional, defamatory and

24        false in its entirety.
25

26

27

28

                                         36
                         COMPLAINT AND DEMAND FOR JURY TRIAL
      Case 2:21-cv-01412-ART-EJY
           Case 1:24-cv-05888-UA                  Document
                                                  Document 1437-32
                                                               Filed 07/29/24
                                                                     Filed 01/06/25
                                                                                Page 37
                                                                                     Page
                                                                                        of 81
                                                                                           38 of 82



 1        112.        Ms. Jacobs’ article was published on The New York Times Instagram page
 2           whereas, it was posted to their 81 million followers and reposted to hundreds of
 3
             thousands of various other third-party Instagram accounts.
 4
          113.        Ms. Jacobs’ article was republished hundreds of times to various websites,
 5
             social media platforms and republished in various other third-party newspapers,
 6

 7           magazines and digital online platforms including but not limited to Instagram, TikTok,

 8           Snapchat, X Corp., Facebook, Reddit and LinkedIn.

 9        114.        As a direct and proximate result of Ms. Jacobs’ article, it encouraged and
10
             inspired a woman who Plaintiffs have never met, seen or heard of to “come forward”
11
             with allegations which are not only literally and physically impossible but which are
12
             the most heinous allegations of them all.
13
          115.        This woman who Plaintiffs have never met in their lives read the article written
14

15           by Ms. Jacobs and immediately came forward, filing her complaint against Plaintiffs

16           on September 23rd, 2021, plagiarizing one of Julia Jacobs’ subject’s story in the
17           complaint as a direct result of Ms. Jacobs’ article.
18
          116.        The media, i.e. The New York Times, supported the false narrative created by
19
             the attorneys at Boies Schiller Flexner, causing extreme distress to Plaintiffs who have
20
             now litigated against a woman they have never met for three years to the date12.
21

22        117.        On July 22nd, 2024, Plaintiffs emailed Demetri Blaisdell once more stating:

23                    Mr. Blaisdell,

24

25

26   12
       Plaintiffs have filed a separate Federal Case pertaining to Boies Schiller & Flexner’s client whom they have
     never met, seen or heard and are additionally in communication with law enforcement regarding her criminal
27   activity which attorney’s from Boies Schiller & Flexner have supported after knowing her allegations are
     impossible and that she has never met Plaintiffs.
28

                                              37
                              COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 38
                                                                            Page
                                                                               of 81
                                                                                  39 of 82



 1               Are you still active counsel on behalf of Julia Jacobs and the New York Times
 2               and therefore accepting service on their behalf?
 3
                 Thanks,
 4
                 Buttons
 5
       118.      On July 23rd, 2024, Mr. Blaisdell replied stating:
 6

 7               Ms. Button,

 8               Assuming this concerns the Humphries case, my colleague David (copied) and

 9               I represent The Times and Ms. Jacobs. What is it you intend to serve on our
10
                 clients?
11
                 While we are authorized to accept service on behalf of The Times and Ms.
12
                 Jacobs, you will need to go through the ordinary steps to serve whatever it is
13
                 you are serving. In other words, we will not be waiving service or accepting
14

15               service by email.

16               As I'm sure you are aware, the discovery period in the Humphries case closed
17               some time ago and the Court has not permitted you to serve additional
18
                 subpoenas on non-parties.
19
                 Best,
20
                 Demetri
21

22     119.      As seen in the forementioned statements sent by Defendant Blaisdell, he once

23        again offers unrepresented Plaintiffs unsolicited legal advice regarding a litigation in

24        which he is not involved in and further addresses discovery matters in which his
25        former associates reminded him was “closed” and that the “Court has not permitted”
26
          Plaintiffs to “serve additional subpoenas on non-parties”.
27

28

                                         38
                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 39
                                                                             Page
                                                                                of 81
                                                                                   40 of 82



 1     120.       Defendant Blaisdell once again, corresponded with Defendants Ruff, Mariella
 2        and non-party co-conspirator Sigrid McCawley to intimidate and prevent Plaintiffs
 3
          from pursuing this instant litigation and any discovery matters associated with “his
 4
          client”, Julia Jacobs.
 5
       121.       Plaintiffs replied to Mr. Blaisdell and stated the following:
 6

 7                Demetri,

 8                Your assumptions are incorrect as this service is not relevant to the, as you

 9                call it, “the Humphries case” and therefore, the close of discovery is
10
                  irrelevant. It would serve in the best interest of all parties to refrain from
11
                  further assumptions “as I’m sure you’re aware”, we would understand the
12
                  close of discovery in “the Humphries case” more than anyone, including your
13
                  colleague Ms. McCawley who created the “Humphries case” yet struggles to
14

15                remember the names of any of the clients she recruited within that case.

16

17                As you have most likely been informed by your colleagues, we are not
18
                  interested in unsolicited legal advice so the question remains unchanged, much
19
                  like our position since your client published her defamatory article in 2021; do
20
                  you and David accept legal service, (in the form of a court ordered summons),
21

22                on behalf of Julia Jacobs and the New York Times and by legal service of

23                course, that is literal and thus, does not mean any waiver or service via email

24                or otherwise but proper service as ordered by the Court, serving legal
25                documents through a licensed process server. If so, please specify to whom
26
                  each service should be provided pursuant to Julia Jacobs and the New York
27

28

                                        39
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 40
                                                                            Page
                                                                               of 81
                                                                                  41 of 82



 1               Times as you and David previously stated, all contact should be directed to
 2               you in regard to either entity.
 3
                 The Buttons.
 4
       122.      On July 23rd, 2024, Plaintiffs then received an unexpected and shocking reply
 5
          from Defendant Blaisdell which only corroborates Plaintiffs’ claim of conspiracy
 6

 7        against Defendants which stated the follow:

 8               Ms. Button,

 9               I'm not going to respond to every part of your email but you can serve
10
                 whatever it is you intend to serve on The Times and Ms. Jacobs on David at
11
                 the address below.
12
                 New York Times Company - Legal Department
13
                 ATTN: David McCraw
14

15               620 8th Avenue

16               New York, NY 10018
17               Best,
18
                 Demetri
19
       123.      Not only did Mr. Blaisdell efer Plaintiffs back to Mr. McCraw after stating he
20
          represented Ms. Jacobs and The New York Times but Mr. Blaisdell inadvertently
21

22        admitted that he should have never been involved from the onset of Plaintiffs initially

23        reaching out to Julia Jacobs attorney.

24     124.      Defendants Blaisdell and McCraw colluded and conspired with Defendants
25        Ruff, Mariella, Schneider, Jacobs and non-party co-conspirator Sigrid McCawley to
26
          intentionally impede on Plaintiffs’ defense and ability to appropriately address the
27

28

                                         40
                         COMPLAINT AND DEMAND FOR JURY TRIAL
      Case 2:21-cv-01412-ART-EJY
           Case 1:24-cv-05888-UA                Document
                                                Document 1437-32
                                                             Filed 07/29/24
                                                                   Filed 01/06/25
                                                                              Page 41
                                                                                   Page
                                                                                      of 81
                                                                                         42 of 82



 1           very claims stated in this complaint; intentionally causing undue burden and delay in
 2           Plaintiffs being able to seek legal recourse against Defendants.
 3
          125.        Additionally, Defendants colluded and conspired with each other to put
 4
             Demetri Blaisdell, former associate and attorney at Boies Schiller & Flexner LLP, in
 5
             contact with Plaintiffs in place of David McCraw, in order to have a “man on the
 6

 7           inside”, who would communicate with Plaintiffs and relay those communications with

 8           them only to notify Plaintiffs after ten months that Mr. Blaisdell was not even who

 9           Plaintiffs should be in contact with and that instead, it should be, Defendant David
10
             McCraw who could accept service on behalf of Ms. Jacobs.
11
          126.        Boies Schiller & Flexner LLP is notorious for having their hands in places they
12
             do not belong and in fact, prevented Plaintiffs from properly being able to seek the
13
             justice they deserve.
14

15        127.        For example, Defendants from Boies Schiller & Flexner have filed a motion

16           with one Federal Court to Order Plaintiffs to dismiss a lawsuit against a parties in
17           another Federal Court in order to silence them and prevent them from seeking legal
18
             recourse against those who have harmed them; it will not work.
19
          128.        The Boies Schiller & Flexner firm is known for its corruption including its
20
             representation of Harvey Weinstein, Theranos and Red Granite Productions, including
21

22           but not limited to its contradictory and egregious acts involving The New York Times

23           by representing “The Times” in two active cases while representing Harvey Weinstein

24           and simultaneously, “convincing the Times that there was no rape”.13
25

26

27   13
        https://www.nytimes.com/2017/11/09/opinion/david-boies-harvey-weinstein.html ;
     https://www.nytimes.com/2018/09/21/business/david-boies-pleads-not-guilty.html
28

                                            41
                            COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA            Document
                                           Document 1437-32
                                                        Filed 07/29/24
                                                              Filed 01/06/25
                                                                         Page 42
                                                                              Page
                                                                                 of 81
                                                                                    43 of 82



 1     129.        Defendants from Boies Schiller & Flexner follow in the same steps here as
 2          they “convinced the Times” of the narrative they created, which is false in its entirety;
 3
            the difference is, their narrative was proven to be fraudulent prior to Ms. Jacobs’
 4
            article and yet, the narrative they created to produce and publish on July 29th, 2021,
 5
            remained unchanged in order to publish a story that would shock any reader including
 6

 7          any potential juror.

 8              Defendants’ Destruction of Plaintiffs’ Business, Goods and Services

 9     130.        Defendants’ intentional collusion and conspiracy, paired with the defamatory
10
            statements made in Ms. Jacobs’ article caused Plaintiffs severe emotional distress
11
            including because Plaintiffs discovered they were being sued through The New York
12
            Times article rather than through the appropriate manner of being served a summons.
13
       131.        Defendants’ unethical behavior and defamatory statements to the media, the
14

15          press and the public was the direct cause of Plaintiffs’ loss of income, destruction of

16          reputation and careers and severe emotional trauma.
17     132.        Due to Defendants’ intentional defamatory statements and arrangement of a
18
            global media campaign against Plaintiffs, Dusty and Taylor Button immediately lost
19
            any and all business including that those who once employed and had business
20
            relations with Plaintiffs, entirely disassociated from them including but not limited to
21

22          the examples of text messages below:

23      •     Email from Holly Tudor Miles of BLOCH INC. who Plaintiff worked for and had a

24             business and personal relationship with for over fifteen years but who completely
25             disassociated from Plaintiff immediately following The New York Times article.
26

27

28

                                          42
                          COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA        Document
                                       Document 1437-32
                                                    Filed 07/29/24
                                                          Filed 01/06/25
                                                                     Page 43
                                                                          Page
                                                                             of 81
                                                                                44 of 82



 1

 2

 3

 4

 5

 6

 7

 8
          • Text message from Bree Hafen to Dusty Button, notifying Plaintiff of terminated
 9
                          agreement and negotiations regarding a collaboration.
10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                       43
                       COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 44
                                                                             Page
                                                                                of 81
                                                                                   45 of 82



 1
     • Text message from Shelby Richardson to Dusty Button, notifying Plaintiff of termination of
 2

 3                                          employment.

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25
        • Text message from Jacqueline Porter, (owner and director of The Dallas Conservatory),
26

27                    to Dusty Button, notifying Plaintiff of termination of employment.

28

                                         44
                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 45
                                                                            Page
                                                                               of 81
                                                                                  46 of 82



 1

 2

 3

 4

 5

 6

 7

 8

 9      • These messages are just an example and a tiny fraction of what Plaintiffs suffered by

10
                                 way of loss of business and employment.
11
       133.   As stated in the above references, Plaintiffs’ names and likeness was their only
12
          business, which generated literally all of their revenue, income and business, whereas
13

14        Plaintiffs, themselves, and what they provided to their respective industries was solely

15        based on what they provided as their name brands known as Dusty Button, Taylor

16        Button, Mitch/Mitchell Button, Mitchell Taylor Button, “The Buttons”, Button Built,
17
          Button Brand and Bravado by Dusty Button.
18
       134.   Plaintiffs’ established business, goods and services were directly sourced and
19
          provided from their good names, talent, expertise and reputations, which were
20
          completely destroyed by Defendants, their agreement to destroy Plaintiffs’ defense
21

22        and Defendants’ unethical play to the media and the press including but not limited to

23        the false and defamatory publication by Ms. Jacobs.
24     135.   As stated in the above referenced facts, Plaintiffs were highly respected, extremely
25
          well-known, leaders of the dance industry and the automotive industry, and reliant on
26
          their businesses which were well established for over fifteen years, as each Plaintiff
27

28

                                       45
                       COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 46
                                                                             Page
                                                                                of 81
                                                                                   47 of 82



 1        was their own business in which they were hired based on their desired skill sets in
 2        their industries, which others could not offer.
 3
       136.   Plaintiffs had established business with signed negotiated contracts with three
 4
          companies to manufacture and sell their dancewear line which was in its initial phase
 5
          and well under way as Plaintiffs were beginning the second wave of these partnerships
 6

 7        when Defendants’ conspired efforts and collusion to destroy Plaintiffs’ livelihood and

 8        defense byway of defamatory statements to a mass audience derailed all operations.

 9     137.   Plaintiffs lost any and all business immediately and for the foreseeable future as a
10
          direct result of Defendants’ unethical play to the media and intentional defamatory
11
          statements.
12
       138.   Defendants made their statements and conspired with actual malice as they knew
13
          that, as a result of the publications, the Plaintiffs would suffer financial harm.
14

15     139.   Defendants knew that their statements were false and intentionally crippled

16        Plaintiffs’ business and ability to generate revenue and income as she maliciously
17        referred to Plaintiffs’ goods and services because the “power” she claims Plaintiffs
18
          “abused” was the power of their business which was their talent, expertise and their
19
          reputable names.
20
       140.   Defendants knew that her statements were false and intentionally crippled
21

22        Plaintiffs’ goods and services which included Plaintiff Dusty Buttons’ teaching,

23        provided choreography, modeling, dancing, guest performing, speaking engagements,

24        design concepts, marketing and brand ambassadorship, all of which were destroyed as
25        Plaintiff Dusty Button was her own goods and services, as her name and career was
26
          her brand and her business.
27

28

                                        46
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 47
                                                                            Page
                                                                               of 81
                                                                                  48 of 82



 1     141.   Defendants knew that her statements were false and intentionally crippled
 2        Plaintiffs’ goods and services which included Plaintiff Taylor Buttons’ design work,
 3
          custom automotive creations, sponsorships, commercial shoots, events, marketing,
 4
          advertising and speaking engagements, all of which were destroyed as Plaintiff Taylor
 5
          Button was his own goods and services, as his name and career was his brand and his
 6

 7        business.

 8     142.   Defendants intentionally, willfully and maliciously made defamatory statements to

 9        numerous media and press outlets including but not limited to Defendant Julia Jacobs
10
          and The New York Times Company which in turn, resulted in further defamation by
11
          hundreds of thousands of third parties on social media, in the press and other new
12
          outlets including to every subscriber of The New York Times who maintain a
13
          subscriber list of 10.36 million subscribers to the paper as well as 9.7 million of digital
14

15        only subscribers; all of whom had access to read and view Julia Jacobs’ article about

16        Plaintiffs.
17     143.   Defendants’ defamatory article and fraudulent lawsuit spread like fuel-soaked
18
          wildfire throughout the dance industry and community, automotive industry and
19
          community and further, to dance and automotive forums including but not limited to
20
          Facebook, Reddit and TikTok and was widely spread via communications through
21

22        various messaging platforms nationally and internationally.

23     144.   Defendants’ conspiracy and attorney-media collusion to publish defamatory

24        remarks, (which were not only spread in written form but widely spread via word of
25        mouth through the grapevine of the industries which Plaintiffs were so highly
26
          respected and prominent in) were an intentional play to the media to interfere with
27

28

                                        47
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 48
                                                                             Page
                                                                                of 81
                                                                                   49 of 82



 1        Plaintiffs’ ability to defend themselves including by influencing any potential juror to
 2        bias the Court and create a false narrative against Plaintiffs.
 3
       145.   Defendants’ defamatory posts and remarks to a mass media audience was
 4
          intentionally dishonest and their defamatory remarks were stated for an improper
 5
          motive with the intent to injure Plaintiffs without just cause or excuse.
 6

 7     146.   Defendants knew that, as a direct result of the publication, Plaintiffs would suffer

 8        financial harm and never be capable of generating revenue using their names again

 9        including by colluding with The New York Times and Julia Jacobs to publish and
10
          disclose a private lawsuit prior to Plaintiffs ever being issued a summons or service
11
          being completed.
12
       147.   Plaintiffs suffered complete loss of business and sales including that their income
13
          was solely based on a per performance basis whereas, Plaintiffs’ income was
14

15        generated upon completion of work as they were themselves, their business.

16     148.   For example, Plaintiff Dusty Button’s teaching classes and performances were
17        immediately canceled following Defendants’ defamatory statements including but not
18
          limited to, in The New York Times.
19
       149.   As another example, Plaintiff Dusty Button immediately lost any and all business
20
          with all scheduled dance studios, summer intensive courses, and events which she was
21

22        scheduled to guest teach and choreograph for, including scheduled guest performance

23        appearances nationally and internationally as a direct result of Defendants’

24        misconduct, conspiracy and defamatory statements and unethical play to the press and
25        the media.
26

27

28

                                        48
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 49
                                                                             Page
                                                                                of 81
                                                                                   50 of 82



 1     150.   As another example, Plaintiff Taylor Button immediately lost any and all business
 2        related to his brands including his business and brand “Button Built”, with all
 3
          scheduled events in the automotive industry including pre-planned design builds for
 4
          clients and customers including prominent name brands which were sponsors of
 5
          Plaintiff Taylor Button, all of whom canceled their builds and design concept work
 6

 7        with Plaintiff for the foreseeable future.

 8     151.   Further, Plaintiffs both immediately lost any and all contracts with sponsors,

 9        endorsements and event appearances in their respective industries including but not
10
          limited to: BLOCH Inc., Tiger Friday, Capezio, Yumiko, MPG Sport, Fenti, Volcom,
11
          Discount Dance, RedBull, Adidas, WeWork, Rotiform Wheels, Brixton Forged,
12
          Momo racing, Bride Racing, Nitto Tires, Toyo tires, Brembo, Ferrari Parts, Tial
13
          Concepts, Xona Rotor, Aviva Performance, Impressive Wraps, Inozetek, Tubi Style,
14

15        Vivid Motorsport, Voodoo Automotive, SEMA Auto Show, Crep Protect, Accuair

16        Suspensions, Currie axels, Pelican LLC, Greyman Tactical, PRP seats, KMC wheels,
17        RAM mounts, Metalcloak suspension and body components, THULE, Rebel Offroad,
18
          PPG paint, Morimoto LED lighting solutions, BAJA off-road lighting solutions,
19
          Powertank, Maxxtraxx, HP tuners, Emory Motorsports, SABELT and Illest, amongst
20
          many others not listed here.
21

22     152.   Plaintiffs not only lost their business “Button Brand”, suffering the complete

23        destruction of their self-made brand but were forced to refund customers for items sold

24        due to the connection of the defamatory statements made by Defendants and the third
25        parties who “grapevined” off of her defamatory statements in the media and the press.
26

27

28

                                        49
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 50
                                                                            Page
                                                                               of 81
                                                                                  51 of 82



 1     153.   Plaintiffs completely lost and forfeited their brand, Button Brand due to the
 2        defamatory statements made in the media and The New York Times including because
 3
          their sponsors, business relations and employers read the article before Plaintiffs were
 4
          served with the lawsuit.
 5
       154.   Plaintiffs had a pre-planned, negotiated contract with dancewear company Tiger
 6

 7        Friday whereas, Plaintiffs designed, licensed and would market the line of leotards and

 8        dancewear utilizing the Button name and brand to expand their already successful

 9        company and image.
10
       155.   Plaintiffs’ contract was immediately canceled as a direct result of Defendants’
11
          defamatory remarks.
12
       156.   Plaintiffs were not paid for work already completed as Tiger Friday continued to
13
          use Plaintiffs’ already completed designs, due to the false and defamatory statements
14

15        made by Defendants’, the New York Times article and the defamatory global media

16        campaign waged against Plaintiffs.
17     157.   Plaintiffs’ brand, Bravado by Dusty Button was a dancewear and leotard line for
18
          dancers in which Plaintiffs had previous negotiated contracts with sponsored third-
19
          party companies and distributors such as Artists Simply Human, Discount Dance,
20
          Showstopper and GK Elite, as well as advertised and garnered sales of this line
21

22        through their own website “bravadodancewear.com” and through Plaintiffs’ former

23        social media page on Instagram, @bravado_dancewear and Plaintiffs’ personal social

24        media account, @dusty_button.
25     158.   Bravado by Dusty Button was sold at various dance events for distribution,
26
          whereas, sales and contracts were immediately terminated following $100,000.00 of
27

28

                                       50
                       COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 51
                                                                            Page
                                                                               of 81
                                                                                  52 of 82



 1        partner investment and nearly a year of travel and planning as a direct result of
 2        Defendants collusion with The New York Times including but not limited to the
 3
          defamatory statements made against Plaintiffs.
 4
       159.   Defendants’ conduct forced the termination of Bravado by Dusty Button as all
 5
          sales came to a halt and additionally, customers demanded refunds stating the brand
 6

 7        was associated with “sexual predators”, “perpetrators”, “criminal behavior” and

 8        “rapists”.

 9     160.   Immediately following Defendants’ conduct and defamatory statements in the
10
          media and the press, Plaintiffs’ businesses, Button Brand, Button Built, and Bravado
11
          by Dusty Button were completely destroyed, losing hundreds of thousands of dollars
12
          in revenue and costs, which were already paid, promised and negotiated with third
13
          party companies and distributors.
14

15     161.   Any and all marketing for the above reference brands with associated accounts

16        advertising those brands including all sales were terminated as a direct result of
17        Defendants’ conduct and publication of Julia Jacobs’ article in The New York Times.
18
       162.   The seriousness of Defendants’ defamatory statements proves a clear intention to
19
          cause damage to Plaintiffs including by way of attorney-media collusion.
20
       163.   The nature and substance of Defendants’ collusion, conspiracy, defamatory
21

22        remarks and actual knowledge that their statements were untrue prove that

23        Defendants’ actions were willful, intentional and malicious.

24     164.   Defendants’ defamatory statements and the audience that the Defendant intended
25        to, and did reach, proves without question, their intent to harm Plaintiffs’ careers,
26
          businesses and reputations as the false statements were aimed specifically at Plaintiffs’
27

28

                                        51
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 52
                                                                            Page
                                                                               of 81
                                                                                  53 of 82



 1        colleagues, clients and target demographics through these defamatory statements in
 2        the global media campaign waged against Plaintiffs including but not limited to
 3
          published defamatory statements in The New York Times, later republished to other
 4
          innumerable mass media outlets including the press and nearly every major news
 5
          outlet and social media account that were otherwise outside of Plaintiffs’ industries
 6

 7        which also included a variety of audiences as each platform reached a different

 8        audience.

 9     165.   Defendants’ attorney-media collusion and publication of defamatory statements
10
          caused the entire dance industry to not only turn against Plaintiff Dusty Button, (who
11
          had worked her entire life to build the reputation she was known for in her industry
12
          and was at the pinnacle of her career), but caused the industry to disassociate from
13
          Dusty, repost the defamatory statements and cease all communication with her,
14

15        including halting any and all forms of employment for which she had been in

16        extremely high demand for, for over fifteen years.
17     166.   Defendants’ attorney-media collusion and published defamatory statements
18
          caused the entire automotive industry to not only turn against Plaintiff Taylor Button,
19
          (who had worked over thirteen years to build the reputation of the idol he was and that
20
          he was known for in his industry and was at the pinnacle of his career), but caused the
21

22        industry to disassociate from Taylor, repost the defamatory statements and cease all

23        communication with him, including halting any and all forms of employment for

24        which he had been in extremely high demand for, for over thirteen years.
25     167.   The defamatory remarks and posts made by Defendants including by way of
26
          attorney-media collusion ignited a viral response which spread like wildfire, resulting
27

28

                                       52
                       COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 53
                                                                            Page
                                                                               of 81
                                                                                  54 of 82



 1        in a ‘grapevine’ effect throughout Plaintiffs’ industries including to their co-workers,
 2        clients, employers, potential employers, parents and children of those Dusty taught in
 3
          the dance industry, sponsors, potential sponsors, friends and family involved in the
 4
          industries, customers, former employers, agencies, dance studio owners and other
 5
          various third parties whereas, Plaintiffs could not defend themselves against such
 6

 7        widespread industry gossip.

 8     168.   Defendants specifically targeted Plaintiffs in their global media campaign waged

 9        against them, as they were influential and informative people in their industries in
10
          which the Defendants spread false statements further than it would seem at first blush.
11
       169.   Plaintiffs were completely prevented from defending themselves to all third
12
          parties as Defendants’ attorney-media collusion and conspiracy to publish the New
13
          York Times article prior to Plaintiffs being served which included defamatory
14

15        statements were so immediately viral and out of control, that Plaintiffs could not

16        control or manage the effects of Defendants’ false, defamatory and malicious
17        statements
18
       170.   As a direct cause of Defendants’ conspiracy including the publication of false and
19
          defamatory statements and global media campaign waged against Plaintiffs, Plaintiffs
20
          have been unable to even have a ringtone, vibration or sound on their phones when
21

22        notifications or calls come in, due to the influx of notifications, messages, harassment,

23        death threats, unwanted threatening calls and the overwhelming immediate responses

24        to Defendants’ posts, comments and reposts whereas, Plaintiffs even had to take turns
25        watching for notifications on each other’s phones to even sleep just one hour as the
26
          harassing, threatening and defamatory remarks continued for months on end.
27

28

                                       53
                       COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 54
                                                                             Page
                                                                                of 81
                                                                                   55 of 82



 1     171.   To this day, Plaintiffs keep their phones on silent as it results in severe trauma and
 2        PTSD as a direct result of Defendants’ conduct and the defamatory statements and the
 3
          global media campaign waged against them including because Defendants have
 4
          intimidated and continue to intentionally harass and intimidate Plaintiffs, abusing their
 5
          power to prevent Plaintiffs from coming forward regarding their misconduct and
 6

 7        unethical attorney-media collusion.

 8     172.   As previously stated herein, Plaintiffs’ business, was their names and likeness as

 9        they were individually contracted due to their reputations of who they were as a
10
          business and as their names were their brands.
11
       173.   Plaintiffs were well-known and prominent figures in their industries and therefore,
12
          were contracted, employed and in high-demand because of their names and
13
          reputations, as they, themselves were their businesses for over fifteen years.
14

15     174.   Plaintiffs’ reputations, prior to Defendants’ conduct and defamatory statements in

16        the global media campaign waged against them and the slaughter of Plaintiffs’ good
17        names, was impeccable in both their respective industries whereas, Plaintiffs were
18
          well-liked, well-respected and in high demand due to their expertise in their industries,
19
          which others could not offer.
20
       175.   Defendant Jacobs has never made any attempt to rectify the false and malicious
21

22        statements even after Plaintiffs have proven her statements to be defamatory, false,

23        misleading and intentionally harmful, including in litigation including after Plaintiffs

24        contacted Ms. Jacobs to find resolution.
25     176.   The shock and confusion resulting from the defamatory statements, coupled with
26
          Defendants’ abuse of power and influence resulting in intense threats, harassment, and
27

28

                                       54
                       COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA            Document
                                           Document 1437-32
                                                        Filed 07/29/24
                                                              Filed 01/06/25
                                                                         Page 55
                                                                              Page
                                                                                 of 81
                                                                                    56 of 82



 1        severe bullying and including the use of her fame as an attorney to intimidate and
 2        silence Plaintiffs while in litigation against her, Plaintiffs were led to believe recourse
 3
          would be an impossibility against them.
 4
       177.   Plaintiffs were so traumatized by Defendants’ misconduct and actions that they
 5
          both suffered from suicidal thoughts, nearly taking their own lives as a direct result of
 6

 7        the defamatory statements made by Defendants and the global media campaign waged

 8        against them however, they have since championed those dark thoughts without the

 9        help of the therapy they are unable to afford due to the destruction of their careers
10
          through Defendant’s defamatory conduct.
11
       178.   Defendants took affirmative steps, as late as July 24th, 2024, to ensure Plaintiffs
12
          were without the ability to seek recourse against her until now with the threat of a law
13
          degree and intentional harm she inflicted on Plaintiffs by way of forcing them to be
14

15        unemployed with no ability to generate income, releasing her of any responsibility as

16        they knew it was a possibility for the statutes of limitation to expire before Plaintiffs
17        could take action against her.
18
       179.   Defendant’s defamatory campaign against Plaintiffs was directly responsible for
19
          hundreds of death threats and a hired convicted felon that was paid nearly $100,000.00
20
          to force Plaintiffs to destroy evidence that Defendants’ defamation was meant to
21

22        conceal; a felon who broke into Plaintiffs’ home and thus rendered them in fear of

23        their lives.

24     180.   Accordingly, any statute of limitations applicable to Dusty and Taylor’s claims, if
25        any, is tolled.
26

27

28

                                         55
                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 56
                                                                             Page
                                                                                of 81
                                                                                   57 of 82



 1     181.   Defendants’ actions described above deprived Dusty and Taylor of the
 2        opportunity to commence this lawsuit before now.
 3
       182.   Defendants are equitably estopped from asserting a statute of limitations defense
 4
          as to Plaintiffs’ claims.
 5
       183.   Allowing Defendants to do so would be unjust.
 6

 7     184.   Defendants took active steps to prevent Dusty and Taylor from commencing this

 8        lawsuit before now, including by way of attorney-media collusion to influence every

 9        party associated to Plaintiffs, destroying Plaintiffs’ ability to work after the first
10
          publication of her defamatory global media campaign against Plaintiffs in The New
11
          York Times began and by using tactical intimidation by way of using their law
12
          degrees to suppress and silence unrepresented Plaintiffs from defending against their
13
          conspiracy, collusion and false and defamatory statements through the media and in
14

15        litigation.

16     185.   Plaintiffs have suffered and continue to suffer mental anguish, severe emotional
17        distress and loss of enjoyment of life as a direct and proximate result of Defendants’
18
          conduct.
19
       186.   Had Plaintiffs succumbed to the darkness that Defendants cast over their lives,
20
          businesses, families and futures, this litigation would be criminal rather than civil as
21

22        they are directly responsible for serving as the catalyst of the global defamatory media

23        campaign waged against Plaintiffs and the fraudulent actions that nearly ended two

24        innocent lives that were once the brightest lights of their careers for millions of people
25        abroad.
26

27

28

                                        56
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA             Document
                                            Document 1437-32
                                                         Filed 07/29/24
                                                               Filed 01/06/25
                                                                          Page 57
                                                                               Page
                                                                                  of 81
                                                                                     58 of 82



 1     187.    Plaintiffs allege the foregoing based upon personal knowledge, public statements
 2         of others, and records in its possession.
 3
       188.    Plaintiffs have actual knowledge that substantial additional evidentiary support,
 4
           which is in the exclusive possession of The New York Times and Defendants and their
 5
           agents and other third-parties, will exist for the allegations and claims set forth above
 6

 7         after a reasonable opportunity for discovery.

 8                                      CAUSES OF ACTION

 9                            COUNT I - INJURIOUS FALSEHOOD
10
     Against Defendants The New York Times Company, Lindsey Ruff, Sabina Mariella, Dawn
11
                                      Schneider and Julia Jacobs
12
       189.        Plaintiffs incorporate by reference and reallege the preceding allegations as
13
           though fully set forth herein.
14

15     190.        The unprivileged statements of fact made by Ms. Jacobs to others about

16         Plaintiffs were false and defamatory.
17     191.        The Defendant’s words were maliciously calculated to cause financial injury,
18
           constituting Plaintiffs’ claim of Injurious Falsehood.
19
       192.        The Defendant’s article contained intentional false and defamatory statements
20
           which does not express statements of opinion and are not protected by any shield law,
21

22         opinion defense or defamation liability.

23     193.        The Defendant’s article contained the statement, “A lawyer for the couple said

24         that they denied the charges” which was false, defamatory and intentionally
25         misleading to a mass audience including any potential juror, resulting in the complete
26
           and total loss of Plaintiffs’ businesses, business relations, affiliates and/or any and all
27

28

                                         57
                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 58
                                                                             Page
                                                                                of 81
                                                                                   59 of 82



 1        contractual agreements as Defendant Julia Jacobs intentionally led readers to believe
 2        Plaintiffs had been charged with a crime rather than allegations made in a civil
 3
          complaint.
 4
       194.       Ms. Jacobs made a false statement of fact which was not based on any such
 5
          statement within the lawsuit she wrote her article on and instead, diverted to a false
 6

 7        statement of fact which was not stated by the Buttons’ previous attorney or any other

 8        party in order to intentionally mislead a mass audience to believe there were “charges”

 9        against Plaintiffs; this malicious statement was knowingly and undeniably false and
10
          Ms. Jacobs made it anyway.
11
       195.       The Defendant’s article contained a false, defamatory and intentionally
12
          malicious statement which was only made to amplify her “story”, made solely for
13
          shock value and which severely harmed Plaintiffs and caused extreme emotional
14

15        distress.

16     196.       Plaintiffs claim special damages to be proven through contractual agreement,
17        financial records and messages which prove the New York Times article was the
18
          direct and proximate cause of Plaintiffs complete and total loss of businesses, business
19
          relations, affiliates, and/or any and all contractual agreements including but not limited
20
          to the reputations, careers and livelihoods in their respective industries.
21

22     197.       Defendant’s misleading title of the article, “Former Dance Instructor Accused

23        of Sexual Assault in Lawsuit”, was intentionally misleading in order to appeal to

24        viewers for shock value, by convincing and leading any reader to believe that
25        Plaintiffs, together, were teaching and abusing their students which is false and
26
          defamatory in its entirety.
27

28

                                        58
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 59
                                                                            Page
                                                                               of 81
                                                                                  60 of 82



 1     198.      Ms. Jacobs’ statement is not protected by New York’s anti-SLAPP law as Ms.
 2        Jacobs’ statement was a false statement of fact, not a statement of opinion and
 3
          therefore, unprotected by First Amendment rights or any other law which would
 4
          relieve Ms. Jacobs from the consequences to her actions.
 5
       199.      Defendant’s words were published in a written fashion to hundreds of
 6

 7        thousands, if not millions of readers including in documented online content,

 8        newspapers, social media publications, law journals and in the new and media

 9        including on television programs.
10
       200.      Defendant Julia Jacobs did not verify the accuracy of her subject’s allegations
11
          before making her defamatory statements and therefore, made her statements out of
12
          neglect, reckless disregard for the truth and/or actual malice.
13
       201.      Ms. Jacobs knowingly published, made defamatory and false statements and
14

15        communicated those false statements to a mass audience of third parties including in

16        the press and the media.
17     202.      Defendants Ruff, Mariella, Schneider and non-party co-conspirator Sigrid
18
          McCawley are liable for arranging the press and media outlets where the false and
19
          defamatory statements were made.
20
       203.      Defendant The New York Times Company is liable for the false and
21

22        defamatory statements made by Ms. Jacobs as the publication’s is liable in editing,

23        publishing, and distributing the defamatory material.

24     204.      The New York Times is liable for the false and defamatory statements made by
25        Ms. Jacobs as the publication benefited and profited immensely from the content even
26
          if Ms. Jacobs acted independently.
27

28

                                        59
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 60
                                                                             Page
                                                                                of 81
                                                                                   61 of 82



 1     205.      Ms. Jacobs’ article was a direct cause of Plaintiffs’ complete loss of business
 2        and sales related to their names, likeness and brands whereas, Plaintiffs suffered
 3
          actual damages and special damages, proven by bank statements, email and text
 4
          communications, approval of government assistance programs, loss of counsel, loss of
 5
          employment and other economic and financial evidence of damages as a result of The
 6

 7        New York Times’ and Julia Jacobs’ false and defamatory statements made to a mass

 8        audience.

 9     206.      The unprivileged statements made by Ms. Ruff, Ms. Mariella, Ms Schneider,
10
          Mr. Blaisdell and non-party co-conspirator Sigrid McCawley to others about Plaintiffs
11
          caused complete loss and injury to Plaintiffs’ businesses, whereas Plaintiffs have not
12
          worked one, single job since July 28th, 2021, including that any and all contracts
13
          including but not limited to the forementioned company contracts and agreements
14

15        were immediately and prematurely terminated following the collusion between

16        Defendants and the unethical conduct of publishing a defamatory article prior to
17        Plaintiffs ever being served.
18
       207.      Ms. Jacobs published and made her defamatory statements negligently, with
19
          knowledge of the falsity of the statements, with reckless disregard of their truth or
20
          falsity and/or with actual malice.
21

22     208.      At the time Julia Jacobs statements were made, she knew or should have

23        known that they were false and defamatory.

24     209.      Ms. Jacobs published a direct quote from Plaintiffs’ attorney citing that they
25        deny the “allegations” and the “claims” pursuant to the civil action; there was no other
26
          purpose to make the unquoted statement, (that Plaintiffs’ previous attorney did not
27

28

                                       60
                       COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 61
                                                                             Page
                                                                                of 81
                                                                                   62 of 82



 1        make), that Plaintiffs “denied the charges” other than to sensationalize the article and
 2        mislead any reader to believe that Plaintiffs had been charged with a crime and
 3
          intentionally creating confusion and implying Plaintiffs were involved in criminal
 4
          activity when they were not.
 5
       210.       Hundreds of thousands of people actually read and/or heard the false and
 6

 7        defamatory statements.

 8     211.       Ms. Jacobs’ statements were not privileged.

 9     212.       The statements were made by Julia Jacobs with reckless disregard for the truth,
10
          oppression and fraud in that she was aware at the time of the falsity of the statement.
11
       213.       Defendants Ruff, Mariella, Schneider and Jacobs possessed information and
12
          had access to information which showed her statements were false including but not
13
          limited to publicly available records which showed the subjects of the articles lawsuit
14

15        to be false in its entirety which were accessible to Ms. Jacobs and were in the

16        possession of Defendants Ruff, Mariella, Schneider and non-party co-conspirator
17        Sigrid McCawley such as evidence of false police reports, fraudulent restraining
18
          orders, text messages, photographs, videos, songs and voice recordings which
19
          contradicted the entirety of the lawsuit filed against Plaintiffs.
20
       214.       Defendants made statements which had no factual basis including but not
21

22        limited to by insinuating Plaintiffs had been “charged” with a crime.

23     215.       Moreover, the statements tend to so harm the reputation of Plaintiffs as to

24        lower their professional reputation in the community or deter third persons from
25        associating or dealing with them including termination of any and all business,
26
          contracts or employment and, as such, constitute injurious falsehood.
27

28

                                        61
                        COMPLAINT AND DEMAND FOR JURY TRIAL
      Case 2:21-cv-01412-ART-EJY
           Case 1:24-cv-05888-UA                   Document
                                                   Document 1437-32
                                                                Filed 07/29/24
                                                                      Filed 01/06/25
                                                                                 Page 62
                                                                                      Page
                                                                                         of 81
                                                                                            63 of 82



 1       216.          As a direct and proximate result of the false and defamatory statements,
 2            Plaintiffs have been severely damaged.
 3
         217.          Plaintiffs are entitled to punitive damages, because Defendants’ defamatory
 4
              statements were made with hatred, ill will, and spite, with the intent to harm Plaintiffs
 5
              or in blatant disregard of the substantial likelihood of causing them harm.
 6

 7       218.          Any statute of limitations, if any, should be tolled.

 8       219.          The statute of limitations for defamation claims, including injurious falsehood

 9            may be tolled, “during the pendency of a related lawsuit or arbitration related to the
10
              same defamatory statements” and, “the pendency of a motion to dismiss a related
11
              lawsuit may toll the statute of limitations until the motion is resolved” whereas,
12
              Plaintiffs have been involved in a pending litigation for exactly three years with
13
              Defendants Ruff, Mariella and non-party co-conspirator Sigrid McCawley and their
14

15            clients, resulting in any ability to financially afford representation and preventing

16            Plaintiffs from seeking recourse against Defendants until now14.
17       220.          Defendants’ defamatory statements were intentionally and specifically timed to
18
              prevent Plaintiffs from seeking recourse against her as Plaintiffs could not afford to
19
              file claims against Defendants, as her defamatory statements immediately destroyed
20
              Plaintiffs’ ability to work and to generate income; this was intentional so that Plaintiffs
21

22            could not seek recourse against Defendant until now.

23

24

25   14
        The statute of limitations for defamation and/or injurious falsehood may be tolled, “during the pendency of a
     related lawsuit or arbitration related to the same defamatory statements” and, “the pendency of a motion to
26   dismiss a related lawsuit may toll the statute of limitations until the motion is resolved”. As previously stated,
     Plaintiffs have been involved in a pending Federal Civil case against attorneys from Boies Schiller & Flexner
27   which is still pending Plaintiffs’ Motion to Dismiss and Counterclaim against them which was filed in August of
     2023.
28

                                              62
                              COMPLAINT AND DEMAND FOR JURY TRIAL
      Case 2:21-cv-01412-ART-EJY
           Case 1:24-cv-05888-UA             Document
                                             Document 1437-32
                                                          Filed 07/29/24
                                                                Filed 01/06/25
                                                                           Page 63
                                                                                Page
                                                                                   of 81
                                                                                      64 of 82



 1      221.        Additionally, Plaintiffs have been intimidated into silence by Defendants
 2          including by abuse of power, harassment and threats against pro se Plaintiffs who
 3
            were prevented from seeking legal recourse until now.
 4
        222.        Defendants are equitably estopped from asserting a statute of limitations as a
 5
            defense and allowing them to do so would be unjust.
 6

 7      223.        Plaintiffs’ statutes, if any, must be tolled.

 8      224.        Plaintiffs have actual knowledge that substantial additional evidentiary

 9          support, which is in the exclusive possession of The New York Times and Defendants
10
            and their agents and other third-parties, will exist for the allegations and claims set
11
            forth above after a reasonable opportunity for discovery.
12
        225.        Because Defendants’ defamatory statements constitute intentional acts which
13
            were made with actual malice towards Plaintiffs and/or reckless disregard for the truth,
14

15          Plaintiffs seek an award for punitive damages.

16                  WHEREFORE, Plaintiffs Dusty and Taylor Button demand judgment against
17   Defendants Ruff, Mariella, Schneider and Jacobs for damages, punitive damages, court costs,
18
     and such other relief as the Court deems just and proper.
19
                             COUNT II – TORTIOUS INTERFERENCE
20
                                             Against Defendants
21

22      226.        Plaintiffs incorporate by reference and reallege the preceding allegations as

23          though fully set forth herein.

24      227.        The unprivileged statements made by Defendants and non-party co-conspirator
25          Sigrid McCawley to others about Plaintiffs were false and defamatory.
26

27

28

                                          63
                          COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 64
                                                                             Page
                                                                                of 81
                                                                                   65 of 82



 1     228.       The unprivileged statements made by Defendants to others about Plaintiffs
 2        caused complete loss and injury to Plaintiffs’ businesses whereas, Plaintiffs have not
 3
          worked one single job since July, 29th, 2021 including that any and all contracts and
 4
          agreements were immediately and prematurely terminated following Defendants’
 5
          conduct and the publishing of Ms. Jacobs’ and The New York Times article.
 6

 7     229.       Defendants made and published such statements negligently, with knowledge

 8        of the falsity of the statements, and/or with reckless disregard of their truth or falsity.

 9     230.       At the time Defendants made and published such statements, they knew or
10
          should have known that they were false and defamatory.
11
       231.       Hundreds of thousands of people actually read and/or heard the false and
12
          defamatory statements.
13
       232.       Defendants’ statements were not privileged.
14

15     233.       Defendants conspired and colluded to interfere with Plaintiffs’ businesses,

16        contractual agreements, relationships, sponsors, employers, business affiliates,
17        reputations and business agreements in order to cripple Plaintiffs’ defense against a
18
          lawsuit which was publicly disclosed prior to Plaintiffs ever being served with that
19
          lawsuit or having knowledge of the allegations set forth within the lawsuit.
20
       234.       Defendants participated in attorney-media collusion and interference,
21

22        compromising the fairness and integrity of the lawsuit which Plaintiffs were not yet

23        served with and thereby, strategically disrupting the normal course of litigation and

24        intentionally causing extreme harm to Plaintiffs including by influencing public
25        perception and any potential juror prior to Plaintiffs having the ability to prepare a
26
          defense.
27

28

                                        64
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 65
                                                                             Page
                                                                                of 81
                                                                                   66 of 82



 1     235.      Defendants possessed information and had access to information which
 2        showed that the statements within the lawsuit and later, the article were false.
 3
       236.      Defendants made statements for which they had no factual basis.
 4
       237.      Defendants suggested Plaintiffs were involved in a serious crime involving
 5
          moral turpitude or a felony, exposing Plaintiffs to ridicule in which reflected
 6

 7        negatively on Plaintiffs’ characters, morality and integrity whereas, the defamatory

 8        statements impaired Plaintiffs’ financial well-being including by publishing those

 9        suggested statements prior to Plaintiffs ever being served.
10
       238.      The Defendant intentionally induced innumerable third parties to break their
11
          contracts with Plaintiffs including because Julia Jacobs’ article intentionally interfered
12
          with the Plaintiffs’ ability to defend themselves or settle the lawsuit and therefore,
13
          Defendants’ actions constitute a tortious interference with Plaintiffs’ legal rights.
14

15     239.      Defendants did so without justification as there was no self-interest in

16        Plaintiffs’ contractual agreements other than to destroy Plaintiffs ability to rightfully
17        defend themselves.
18
       240.      Defendants’ false statements accused Plaintiffs of a serious crime and
19
          maligned Plaintiffs in their professions, those statements which resulted in constitute a
20
          tortious interference and Plaintiffs’ injuries are presumed.
21

22     241.      Defendants’ actions were motivated by a desire to harm the Plaintiffs.

23     242.      Moreover, the statements tend to so harm the reputation of Plaintiffs as to

24        lower their professional reputation in the community or deter third persons from
25        associating or dealing with them including termination of any and all business,
26
          contracts or employment, inducing third-parties through mass media publication to
27

28

                                        65
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 66
                                                                             Page
                                                                                of 81
                                                                                   67 of 82



 1        sever contractual agreements and disassociate from Plaintiffs, preventing Plaintiffs
 2        from a rightful defense against the lawsuit including prior to Plaintiffs being served.
 3
       243.      As a direct and proximate result of the false and defamatory publication,
 4
          intentional collusion with the media and disclosure of a lawsuit prior to service being
 5
          completed including publication of false statements to a mass media audience and
 6

 7        innumerable third parties by way of mass distribution, Plaintiffs have been severely

 8        damaged.

 9     244.      Defendants’ defamatory statements were intentionally and specifically timed to
10
          induce third-parties into severing any and all contracts with Plaintiffs and
11
          disassociating from Plaintiffs to harass and prevent Plaintiffs from seeking recourse
12
          against Defendants; Plaintiffs could not afford to file claims against Defendants, as
13
          their defamatory statements immediately destroyed Plaintiffs’ ability to work and to
14

15        generate income, disseminating any and all contractual agreements with third-parties.

16     245.      Defendant is equitably estopped from asserting a statute of limitations as a
17        defense and allowing her to do so would be unjust.
18
       246.      Plaintiffs’ statutes, if any, must be tolled.
19
       247.      Plaintiffs have actual knowledge that substantial additional evidentiary
20
          support, which is in the exclusive possession of The New York Times and Defendants
21

22        and their agents and other third-parties, will exist for the allegations and claims set

23        forth above after a reasonable opportunity for discovery.

24     248.      Plaintiffs are entitled to punitive damages, because Defendants’ defamatory
25        statements were made with hatred, ill will, and spite, with the intent to harm Plaintiffs
26
          or in blatant disregard of the substantial likelihood of causing them harm as there was
27

28

                                        66
                        COMPLAINT AND DEMAND FOR JURY TRIAL
      Case 2:21-cv-01412-ART-EJY
           Case 1:24-cv-05888-UA             Document
                                             Document 1437-32
                                                          Filed 07/29/24
                                                                Filed 01/06/25
                                                                           Page 67
                                                                                Page
                                                                                   of 81
                                                                                      68 of 82



 1          publicly available information and data including information, data and documentation
 2          proving Defendants’ statements to be false.
 3
        249.        Because Ms. McCawley’s defamatory statements constitute intentional acts
 4
            which were made with actual malice towards Plaintiffs and or reckless disregard for
 5
            the truth, Plaintiffs seek an award for punitive damages.
 6

 7                  WHEREFORE, Plaintiffs Dusty and Taylor Button demand judgment against

 8   Defendants for damages, punitive damages, court costs, and such other relief as the Court

 9   deems just and proper.
10
                                COUNT III – DEFAMATION PER SE
11
                                             Against Defendants
12
        250.        Plaintiffs incorporate by reference and reallege the preceding allegations as
13
            though fully set forth herein.
14

15      251.        The unprivileged statements made by Defendants to others about Plaintiffs

16          were false and defamatory.
17      252.        The unprivileged statements made by Defendants to others about Plaintiffs
18
            caused complete loss and injury to Plaintiffs’ businesses whereas, Plaintiffs have not
19
            worked one single job since July 28th, 2021 including that any and all contracts and
20
            agreements were immediately and prematurely terminated following Defendants’
21

22          conduct and unethical misconduct.

23      253.        Defendants made and published such statements negligently, with knowledge

24          of the falsity of the statements, and/or with reckless disregard of their truth or falsity.
25      254.        At the time Defendants made such statements, she knew or should have known
26
            that they were false and defamatory.
27

28

                                          67
                          COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 68
                                                                            Page
                                                                               of 81
                                                                                  69 of 82



 1     255.      Hundreds of thousands of people actually read and/or heard the false and
 2        defamatory statements.
 3
       256.      Defendants’ statements were not privileged.
 4
       257.      The statements were published and stated by Defendants with actual malice,
 5
          and/or reckless disregard for the truth, oppression, and fraud in that they were aware at
 6

 7        the time of the falsity of the publication and thus, made said statements and

 8        publications in bad faith, out of hatred and ill-will directed towards Plaintiffs without

 9        any regard for the truth.
10
       258.      Defendants possessed information and had access to information that showed
11
          her statements were false.
12
       259.      Defendants received information which should have prompted action to retract
13
          the false statements of fact but instead, no action was taken, no apology was issued
14

15        and there was no resolve.

16     260.      Defendants made statements for which she had no factual basis.
17     261.      Moreover, the statements tend to so harm the reputation of Plaintiffs as to
18
          lower their professional reputations in the community or deter third persons from
19
          associating or dealing with them including termination of any and all business,
20
          contracts or employment and, as such, constitute libel per se.
21

22     262.      As a direct and proximate result of the false and defamatory statements and

23        publication of statements to third parties by Defendants, Plaintiffs have been severely

24        damaged.
25     263.      Defendants made false and defamatory statements to a mass audience in which
26
          were so widely understood to be harmful that they are presumed to be defamatory as
27

28

                                        68
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 69
                                                                             Page
                                                                                of 81
                                                                                   70 of 82



 1        Defendants made statements which accused Plaintiffs of committing crimes against
 2        children, particularly, (“young girls”).
 3
       264.      The statute of limitations for defamation claims, including defamation per se
 4
          may be tolled, “during the pendency of a related lawsuit or arbitration related to the
 5
          same defamatory statements” and, “the pendency of a motion to dismiss a related
 6

 7        lawsuit may toll the statute of limitations until the motion is resolved” whereas,

 8        Plaintiffs have been involved in a pending litigation for nearly three years with

 9        attorneys from Boies Schiller & Flexner and their clients, resulting in any ability to
10
          financially afford representation and preventing Plaintiffs from seeking recourse
11
          against Defendants until now.
12
       265.      Defendants’ defamatory statements were intentionally and specifically timed to
13
          prevent Plaintiffs from seeking recourse against them as Plaintiffs could not afford to
14

15        file claims against Defendants, as their defamatory statements immediately destroyed

16        Plaintiffs’ ability to work and to generate income; this was intentional so that Plaintiffs
17        could not seek recourse against Defendants until now.
18
       266.      Defendants are equitably estopped from asserting a statute of limitations as a
19
          defense and allowing her to do so would be unjust.
20
       267.      Plaintiffs’ statutes, if any, must be tolled.
21

22     268.      Plaintiffs are entitled to punitive damages, because Defendants’ defamatory

23        statements were made with hatred, ill will, and spite, with the intent to harm Plaintiffs

24        or in blatant disregard of the substantial likelihood of causing them harm.
25     269.   Plaintiffs have actual knowledge that substantial additional evidentiary support,
26
          which is in the exclusive possession of The New York Times and Defendants and their
27

28

                                        69
                        COMPLAINT AND DEMAND FOR JURY TRIAL
      Case 2:21-cv-01412-ART-EJY
           Case 1:24-cv-05888-UA              Document
                                              Document 1437-32
                                                           Filed 07/29/24
                                                                 Filed 01/06/25
                                                                            Page 70
                                                                                 Page
                                                                                    of 81
                                                                                       71 of 82



 1          agents and other third-parties, will exist for the allegations and claims set forth above
 2          after a reasonable opportunity for discovery.
 3
        270.           Because Defendants’ defamatory statements constitute intentional acts which
 4
            were made with actual malice and/or reckless disregard for the truth towards Plaintiffs,
 5
            Plaintiffs seek an award for punitive damages.
 6

 7                     WHEREFORE, Plaintiffs Dusty and Taylor Button demand judgment against

 8   Defendants for damages, punitive damages, court costs, and such other relief as the Court

 9   deems just and proper.
10
           COUNT IV - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
11
                                             Against Defendants
12
        271.           Plaintiffs incorporate by reference and reallege the preceding allegations as
13
            though fully set forth herein.
14

15      272.           At the time of the events herein and at the time Ms. Jacobs’ article was

16          published, Plaintiffs received innumerable messages and phone calls regarding the
17          article and the lawsuit which was disclosed to a mass audience prior to Plaintiffs’
18
            being served, whereas, Plaintiffs were notified by various third-parties about the
19
            article.
20
        273.           In fact, Plaintiffs own attorney, (who they previously retained following the
21

22          May 13th, 2021 attack in order to sue Defendants’ clients and non-party, Madison

23          Breshears), did not even have a copy of the complaint filed and was in search for the

24          complaint upon the release of Ms. Jacobs’ article.
25      274.           Plaintiffs’ attorney could not even comment on the article appropriately as he
26
            was unaware of what was written in the complaint.
27

28

                                             70
                             COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 71
                                                                             Page
                                                                                of 81
                                                                                   72 of 82



 1     275.      The unprivileged statements made by Defendants to others about Plaintiffs
 2        were false and defamatory and caused extreme distress on Plaintiffs and their family
 3
          including that Plaintiffs became depressed and began having suicidal thoughts due to
 4
          the shock of Ms. Jacobs’ defamatory article as Defendants conspired to intentionally
 5
          harm Plaintiffs.
 6

 7     276.      The unprivileged statements made by Defendants to others about Plaintiffs

 8        caused complete loss and injury to Plaintiffs business whereas, Plaintiffs have not

 9        worked one single job since July 29th, 2021 including that any and all contracts and
10
          agreements were immediately and prematurely terminated following Defendants’
11
          conduct.
12
       277.      Defendant published such statements negligently, with knowledge of the
13
          falsity of the statements, malice, and/or with reckless disregard of their truth or falsity.
14

15     278.      At the time such statements were made by Defendants, they knew or should

16        have known that they were false and defamatory.
17     279.      Hundreds of thousands of people actually read and/or heard the false and
18
          defamatory statements.
19
       280.      The statements were not privileged.
20
       281.      The statements were published by Defendant with actual malice and/or
21

22        reckless disregard for the truth, oppression, and fraud in that they were aware at the

23        time of the falsity of the publication and thus, made said publications in bad faith, out

24        of hatred and ill-will directed towards Plaintiffs without any regard for the truth.
25     282.      Defendants possessed information and had access to information that showed
26
          their statements were false.
27

28

                                        71
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 72
                                                                             Page
                                                                                of 81
                                                                                   73 of 82



 1     283.      Defendant also made statements for which they had no factual basis.
 2     284.       Defendants acted intentionally and/or recklessly whereas, the Defendants’
 3
          conduct was extreme and outrageous and was the direct cause of Plaintiffs’ severe
 4
          emotional distress in which Plaintiffs continue to suffer today.
 5
       285.      Moreover, the statements and publication prior to the service of the complaint
 6

 7        on Plaintiffs tend to so harm the reputation of Plaintiffs as to lower their professional

 8        reputation in the community or deter third persons from associating or dealing with

 9        them including termination of any and all business, contracts or employment and, as
10
          such, constitutes intentional infliction of emotional distress.
11
       286.      As a direct and proximate result of the false and defamatory publication of
12
          statements to innumerable third parties by Defendants, Plaintiffs have been severely
13
          damaged.
14

15     287.      The statute of limitations for defamation claims, including defamation per se

16        may be tolled, “during the pendency of a related lawsuit or arbitration related to the
17        same defamatory statements” and, “the pendency of a motion to dismiss a related
18
          lawsuit may toll the statute of limitations until the motion is resolved” whereas,
19
          Plaintiffs have been involved in a pending litigation for nearly three years with
20
          attorneys from Boies Schiller & Flexner and their clients, resulting in any ability to
21

22        financially afford representation and preventing Plaintiffs from seeking recourse

23        against Defendants until now.

24     288.      Because Defendants’ defamatory statements constitute intentional acts which
25        were made with actual malice towards Plaintiffs and/or reckless disregard for the truth,
26
          Plaintiffs seek an award for punitive damages.
27

28

                                        72
                        COMPLAINT AND DEMAND FOR JURY TRIAL
      Case 2:21-cv-01412-ART-EJY
           Case 1:24-cv-05888-UA             Document
                                             Document 1437-32
                                                          Filed 07/29/24
                                                                Filed 01/06/25
                                                                           Page 73
                                                                                Page
                                                                                   of 81
                                                                                      74 of 82



 1      289.    Plaintiffs have actual knowledge that substantial additional evidentiary support,
 2          which is in the exclusive possession of The New York Times and Defendants and their
 3
            agents and other third-parties, will exist for the allegations and claims set forth above
 4
            after a reasonable opportunity for discovery.
 5
        290.       The unprivileged statements made by Defendants to others about Plaintiffs
 6

 7          caused complete loss and injury to Plaintiffs’ businesses whereas, Plaintiffs have not

 8          worked one single job since July 29th, 2021 including that any and all contracts and

 9          agreements were immediately and prematurely terminated following Defendants’
10
            conduct and unethical misconduct including but not limited to the publication and
11
            disclosure of the lawsuit prior to Plaintiffs even being served with the lawsuit or
12
            having any knowledge of the lawsuit or the allegations set forth within the complaint.
13
                   WHEREFORE, Plaintiffs Dusty and Taylor Button demand judgment against
14

15   Defendants for damages, punitive damages, court costs, and such other relief as the Court

16   deems just and proper.
17                               COUNT V – CIVIL CONSPIRACY
18
                                             Against Defendants
19
        291.       Plaintiffs incorporate by reference and reallege the preceding allegations as
20
            though fully set forth herein.
21

22      292.       Defendants conspired between each other, (parties which are consisting of

23          media and attorneys), and colluded to commit an unlawful and unethical act such as

24          defamation and invasion of Plaintiffs’ privacy in order to coordinate coverage and
25          mutual influence to cripple Plaintiffs’ defense and destroy Plaintiffs’ right to due
26

27

28

                                          73
                          COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 74
                                                                            Page
                                                                               of 81
                                                                                  75 of 82



 1        process including but not limited to publishing and disclosing a lawsuit prior to even
 2        serving the complaint on Plaintiffs.
 3
       293.      Defendant Blaisdell specifically and intentionally impeded on Plaintiffs’ right
 4
          to discover imperative information by colluding with his former associates at Boies
 5
          Schiller & Flexner to prevent Plaintiffs from discovering further proof of collusion
 6

 7        and to prevent Plaintiffs from bring forth the claims listed herein against the

 8        Defendants in a timely manner.

 9     294.      Defendant Blaisdell intentionally intimidated, harassed and threatened
10
          Plaintiffs, who are unrepresented, in an effort to persuade them to cease any and all
11
          communications regarding “his client” Julia Jacobs to seek legal recourse against her.
12
       295.      Defendant Blaisdell misled Plaintiffs into believing they had no legal recourse
13
          against “his client”, Ms. Jacobs or against The New York Times Company.
14

15     296.      The unprivileged statements made by Defendants to others about Plaintiffs

16        were false and defamatory.
17     297.      The unprivileged statements made by Defendants to others about Plaintiffs
18
          caused complete loss and injury to Plaintiffs’ businesses whereas, Plaintiffs have not
19
          worked one single job since July 28th, 2021 including that any and all contracts and
20
          agreements were immediately and prematurely terminated following Defendants’
21

22        conduct and unethical misconduct.

23     298.      Defendants intentionally, knowingly and maliciously conspired and colluded to

24        prevent Plaintiffs from seeking legal recourse until now including but not limited to by
25        publishing a false and defamatory statements prior to serving the complaint on
26
          Plaintiffs, as a long string harassment and bullying campaign against Plaintiffs to
27

28

                                       74
                       COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 75
                                                                             Page
                                                                                of 81
                                                                                   76 of 82



 1        intentionally sway any potential juror and to gain an unlawful advantage in an action
 2        of law.
 3
       299.         Defendants made and published such statements with knowledge of the falsity
 4
          of the statements, and/or with reckless disregard of their truth or falsity and conspired
 5
          and colluded anyway.
 6

 7     300.         At the time Defendants conspired to make and publish such statements, they

 8        knew or should have known that they were false and defamatory.

 9     301.         At the time Defendants conspired and agreed to publicly shame, embarrass and
10
          harass Plaintiffs, Defendants knew that the complaint and published article would be
11
          written and published in such a way that it would completely damage Plaintiffs’
12
          careers, reputations, businesses and livelihoods in order to dismantle Plaintiffs’
13
          defense against the false and defamatory article consisting of allegations which
14

15        Plaintiffs did not even have knowledge of.

16     302.         Hundreds of thousands of people actually read and/or heard the false and
17        defamatory statements.
18
       303.         Defendants’ statements were not privileged.
19
       304.         The statements were made and published by Defendants with actual malice
20
          and/or reckless disregard for the truth, oppression, and fraud in that she was aware at
21

22        the time of the falsity of the publication and thus, made said statements and

23        publications in bad faith, out of hatred and ill-will directed towards Plaintiffs without

24        any regard for the truth.
25     305.         Defendants possessed information and had access to information that showed
26
          her statements were false but conspired to create a false narrative including by
27

28

                                         75
                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA           Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 76
                                                                             Page
                                                                                of 81
                                                                                   77 of 82



 1        intentionally disregarding evidence which was in the possession of the Boies Schiller
 2        & Flexner attorneys, Defendant Schneider, Julia Jacobs and The New York Times in
 3
          order to specifically and intentionally file a frivolous lawsuit and publish and
 4
          defamatory article which was not based on any of the evidence which was in
 5
          Defendants’ possession prior to the article being published or the lawsuit being filed.
 6

 7     306.      Defendants made statements which had no factual basis.

 8     307.      Defendants Ruff, Mariella and non-party co-conspirator Sigrid McCawley

 9        made an express agreement with others, including but not limited to each Defendant
10
          named forth herein including the Boies Schiller & Flexner clients who were subjects
11
          of Ms. Jacobs’ article and Defendants Julia Jacobs and The New York Times
12
          Company, whereas Defendants’ actions outside of litigation prove that they conspired
13
          to defame, harass, bully, threaten and dismantle Plaintiffs in a joint effort to destroy
14

15        their business, reputations, careers, ability to work and financial ability to defend the

16        frivolous lawsuit Defendants and her clients brought forth on July 28th, 2021 to
17        intentionally deprive Plaintiffs in an overt act in furtherance causing economic loss.
18
       308.      Defendants’ actions resulted in “Unfair Competition” by way of coordinating
19
          efforts to spread false information about Plaintiffs, (whose names and likeness were
20
          their business), to gain an advantage, by conspiring and colluding together to destroy
21

22        Plaintiffs’ reputations, careers, business and ability to work and defend themselves

23        against the mass media attack against them and the frivolous litigation itself.

24     309.      Defendants unethically played to the media and the press in pursuance of
25        conspiracy by way of making false and defamatory statements to intentionally harm
26

27

28

                                        76
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA          Document
                                         Document 1437-32
                                                      Filed 07/29/24
                                                            Filed 01/06/25
                                                                       Page 77
                                                                            Page
                                                                               of 81
                                                                                  78 of 82



 1        Plaintiffs, resulting in financial loss, damage to reputation and severe emotional
 2        distress.
 3
       310.      Defendants’ actions were unlawful including that the defamatory statements
 4
          made by Defendants, intentionally made and published were intentional and wrongful
 5
          interreferences with Plaintiffs’ business relationships.
 6

 7     311.      Defendants intentionally and knowingly made false statements about Plaintiffs

 8        to a mass audience, performing an unlawful act to gain notoriety and mislead the

 9        public and any potential juror through the media and the press to secure bias and to
10
          maintain the public praise which was awarded for the representation of Virginia
11
          Giuffre against Epstein and Maxwell, while knowing that Defendants’ clients’
12
          allegations were false even after presented with factual evidence proving the
13
          allegations were fraudulent prior to filing the complaint and further, prior to the
14

15        interviews and publication of Ms. Jacobs’ article in The New York Times.

16     312.      Moreover, Defendants colluded and agreed to publish the article prior to a
17        summons even being issued to serve Plaintiffs, and prior to service of the lawsuit on
18
          Plaintiffs to intentionally gain an advantage and prevent Plaintiffs from seeking legal
19
          recourse against Defendants and their clients, constituting a Civil Conspiracy.
20
       313.      The statute of limitations for Civil Conspiracy may be tolled, “during the
21

22        pendency of a related lawsuit or arbitration related to the same defamatory

23        statements” and, “the pendency of a motion to dismiss a related lawsuit may toll the

24        statute of limitations until the motion is resolved” whereas, Plaintiffs have been
25        involved in a pending litigation for nearly three years with Defendants Ruff, Mariella
26
          and non-party co-conspirator and their clients, resulting in any ability to financially
27

28

                                        77
                        COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:21-cv-01412-ART-EJY
          Case 1:24-cv-05888-UA            Document
                                           Document 1437-32
                                                        Filed 07/29/24
                                                              Filed 01/06/25
                                                                         Page 78
                                                                              Page
                                                                                 of 81
                                                                                    79 of 82



 1        afford representation and preventing Plaintiffs from seeking recourse against
 2        Defendants.
 3
       314.        Mr. Blaisdell intentionally made false statements to Plaintiffs to lead them to
 4
          believe they could not seek legal recourse against Ms. Jacobs or The New York
 5
          Times.
 6

 7     315.        Defendants conduct is of a similar pattern whereas; the modus operandi of

 8        attorneys from Boies Schiller & Flexner including non-party co-conspirator Sigrid

 9        McCawley is to engage in unethical practices of filing lawsuits and disclosing them to
10
          the press prior for fame and notoriety; as one recent example, attorneys from Boies
11
          Schiller & Flexner engaged in the same misconduct and pattern by representing two
12
          Olympians who filed allegations against their coach whereas, representatives of
13
          Defendant were asked for a comment but stated:
14

15                 “We are aware of the lawsuits that were filed,” the statement read. “U.S. Ski

16                 & Snowboard has not yet been served with the complaint nor have had an
17                 opportunity to fully review it. U.S. Ski & Snowboard is and will remain an
18
                   organization that prioritizes the safety, health and well-being of its athletes
19
                   and staff.”
20
       316.        Defendants proof of conspiracy lies within their pattern to continue conspiring
21

22        and unethically colluding with the media to gain an unlawful advantage.

23     317.        Defendants arranged and agreed to present false and defamatory statements to

24        be published within Ms. Jacobs’ article while intentionally and specifically timing the
25        publication of the article to prevent Plaintiffs from seeking recourse against
26
          Defendants as Plaintiffs could not afford to file claims against Defendants, whereas,
27

28

                                         78
                         COMPLAINT AND DEMAND FOR JURY TRIAL
      Case 2:21-cv-01412-ART-EJY
           Case 1:24-cv-05888-UA            Document
                                            Document 1437-32
                                                         Filed 07/29/24
                                                               Filed 01/06/25
                                                                          Page 79
                                                                               Page
                                                                                  of 81
                                                                                     80 of 82



 1          their conspiracy to interfere with Plaintiffs’ defense by way of publishing false and
 2          defamatory statements immediately destroyed Plaintiffs’ ability to work and to
 3
            generate income; this was intentional to prevent Plaintiffs from seeking legal recourse
 4
            against them.
 5
        318.       Defendant is equitably estopped from asserting a statute of limitations as a
 6

 7          defense and allowing Defendants to do so would be unjust.

 8      319.       Plaintiffs’ statutes, if any, must be tolled.

 9      320.       As a direct and proximate result of Defendants’ conspiracy including the false
10
            and defamatory publication of statements to the mass media and innumerable third
11
            parties by Defendants, Plaintiffs livelihoods were completely destroyed and which
12
            have been severely and irreparably damaged.
13
        321.       Plaintiffs are entitled to punitive damages because Defendants’ defamatory
14

15          statements were made with hatred, ill will, and spite, with the intent to harm Plaintiffs

16          or in blatant disregard of the substantial likelihood of causing them harm and because
17          Defendants’ conduct constitutes intentional acts of conspiracy which were made with
18
            actual malice towards Plaintiffs whereas, the conduct is part of a pattern of similar
19
            conduct directed at the public generally, indicating a reckless disregard for civil
20
            obligations, Plaintiffs seek an award for punitive damages.
21

22                 WHEREFORE, Plaintiffs Dusty and Taylor Button demand judgment against

23   Defendants for damages, punitive damages, court costs, and such other relief as the Court

24   deems just and proper.
25                                     PRAYER FOR RELIEF
26

27

28

                                            79
                            COMPLAINT AND DEMAND FOR JURY TRIAL
      Case 2:21-cv-01412-ART-EJY
           Case 1:24-cv-05888-UA            Document
                                            Document 1437-32
                                                         Filed 07/29/24
                                                               Filed 01/06/25
                                                                          Page 80
                                                                               Page
                                                                                  of 81
                                                                                     81 of 82



 1                  WHEREFORE, Plaintiffs respectfully request judgment against Defendants,
 2   awarding compensatory, consequential, exemplary, and punitive damages in an amount to be
 3
     determined at trial, including but not limited to:
 4
                    A. Entering judgment against the Defendant on all claims made against her in
 5
                        this Complaint;
 6

 7                  B. Entering an Order directing that Defendant pay Plaintiffs reasonable fees

 8                      and costs pursuant to any applicable law;

 9                  C. For actual damages in an amount to be proven at trial;
10
                    D. For punitive damages in an amount to be proven at trial;
11
                    E. For costs of suit;
12
                    F. For pre-judgment and post-judgment interest on the foregoing sums;
13
                    G. For such other and further relief as the Court deems proper.
14

15                                   DEMAND FOR JURY TRIAL

16                  Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs hereby request a trial
17   by jury on all causes of action asserted within this pleading.
18
19
                                    Respectfully dated this 29th day of July, 2024,
20

21

22                                          _________________________________________
                                            Dusty Button and Mitchell Taylor Button (Pro se)
23                                          101 Ocean Sands Ct.
                                            Myrtle Beach, SC 29579
24                                          Email: prosecanyousee@mailfence.com
25                                          Phone: 310-499-8930
                                            Phone: 310-499-8702
26

27

28

                                           80
                           COMPLAINT AND DEMAND FOR JURY TRIAL
      Case 2:21-cv-01412-ART-EJY
           Case 1:24-cv-05888-UA          Document
                                          Document 1437-32
                                                       Filed 07/29/24
                                                             Filed 01/06/25
                                                                        Page 81
                                                                             Page
                                                                                of 81
                                                                                   82 of 82



 1
                                   CERTIFICATE OF SERVICE
 2

 3                 The undersigned hereby certifies that the foregoing document was mailed as

 4   directed to pro_se_filing@nysd.uscourts.gov on July 29th, 2024.
 5

 6
                                  Dated this 29th day of July, 2024,
 7

 8
                                  /s/___________________________________________
 9
10                                Signature of Plaintiff Dusty Button (Pro se)

11                                /s/___________________________________________

12                                Signature of Plaintiff Mitchell Taylor Button (Pro se)
13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                         81
                         COMPLAINT AND DEMAND FOR JURY TRIAL
